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EXHIBIT E
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pue and sulpsesa. |JeApr] ‘UIA YIM adUapUOdsalO)
edJawy JO UOIJe1Od40D| s}9e41]U0D/sasea] Scxa| OO'SS~S 170 O0'TES W yyagesi|y ‘uaz UOA|0Z0Z/8/6
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uonerdde aa} 10} ad10Au! IsNEny MaiAay suonesddy 9TNa| OO'SS~S |7'0 00°@8TS W Yyiegesi|y “U9az719 UOA|0Z0Z/E/6

quawAojdwy/ae4
(Z°0) sanss! asnd Bulpsesai jazHaN pue [jeApl]| syesjU0>/saseaq Scxd| OO'SS~S $= |17'0 00'@8TS W yreqesi|y ‘Uaz19 UOA|0Z0Z/7/6

“SUSSBIA] YIM BDUaPUOdSaOD ‘(7°9) aSea] BdYYo ayesod409 Jo uonoafay

Suipsesas |9ZON pue |JeAp!] “sussayj] YUM BdUapUOdsasO) 9g UOIdLUNSSY
UoHe8I}!| EpUO|4 Sulpsedas pseusag “sj YIM 3dUa1ajU0D uonesiyy STG] OO'SS~S |E€0 OS°9ETS W Yiogesi|q ‘Uazu1y U0A|0Z07/Z/6
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9g UONduUNssy

 

 

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:(Z°0) Ques Sulpsesas sean] “aA YUM adUapPUOdsSa1IOD pue 3g UOIdLUNSSY
jaayuspeaids uoldal[go aind ajyepdn ‘(9°9) ssad0i1d uonduinsse
pue ano Sulpsesas JuaNsZuOD pue |JeAp!] “JWI YIM 39Ua13jU09
auoydaya ‘(7°9) JUNOWe aind BulpseBai sajnpayosioH Aq
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:(S°0) Vd 93 suolqda[go pue Buleay ajes Buipsesasoisseyy “4
YUM adUIaJaJUOD BUOYdala ‘(€'9) JESPNq UMOP-puUIM JOJ saa}
SuUIPJeZaJ [AZUAN “JIA YUM BdUaPUOdSaIOD ‘(T'Q) BuLeaY ayes
Sulpsesas Sean] “IW YUM aduaJajuod aUOYdaja} ‘(T'9) Suleay
ayes Jo snjeqs Suipsesas doupse/y “sj YM adUapUOdsaOD
(T°0) Japso ajajdwod ‘(¢°Q) saseaj 0} UOIafaI psy} 0} SUOIyIaIgo] s19e1]U0D/saseay S714] OO'OGTS |S5°0 00°S6S “WC deuer ‘P}SWapPOHIN|OZOZ/OT/6
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‘(Z7’Q) Suleay ayes Jo JuawUNOfpe pue and Bulsuey

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sasea| pue s39e1}U09 AlojNIax—a jo UOI|dwinsse pue UONa{aL 9g UONdUNSsY
Bulpsesas [EAP] ‘UIA YM adUapUOdsaOd ‘(Q'T) JUaWpUawe
asea| UjOdUT] aSIAaJ PUR MatAal ‘([°9) AUadoud ejjai¢ Bulpsesau
juawasea jeuajod Sulpsesas |jeapl] “4 YIM adUapUOodsaiOD
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6S Pue €G adJaWIWOD Suipsesas sanssi JO MaIAaJ Pue aAladay
(8°0) s}Juawipuawe 97e3Sq |Poy ZENG] OO'O9ZS § |ZT OO'ZTES W espuexayy ‘Spoom!|0Z02/ST/6
asea| S,e/[a1¢ pue ‘auljjog JeDdOY ‘puejjoyH yepdoH
dSIABI pue MAA ‘(Z7°Q) Wes AY} 0} Puas pue adIaWIWOD
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sjelnueuly aunf pasinal Bulpsegai sjiewy dulioday €€nNG] OO'SSHS |7'0 | O0'Z8TS W auuezoy ‘eUuNID|0Z0Z/ST/6
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‘(€°0) SuoNIaIqo adUeJNsse aj}enbape ajyesodsoou! 0} UOeNdiys
aSIAaJ ‘(Z°9) SSulUeaY adUeINSSe ajenbape a,esodsoou!

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YUM adUaJajUOd auOYdalay ‘(7°9) JeBBpNq UMOP-pUIM JOJ saa}
Sulpsesai [@ZUAN “AW YUM adUapUOdsaOD ‘(T°Q) saUepUaye
99U913JUOD SNje}s Sulpyedas ya0y “S|| YUM adUapUOdsaOD
‘(Z°0) B2uasajuOd snje}s BulpseBas jazpayy pue seony

“SASSBIA] YUM BIUBPUOdSAIIOD ‘([°Q) Sulueay ayes yo UaUUINO[pe
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‘(Z'0) Sulseay ayes usnolpe 0} Japso pue uoNejndys asinay

 

 

 

 

 

 

 

 

 
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YUM aduapuodsasJOD pue JUaWIPUaWwe asea] UjOIU!] 0} SUOISIAAL
MAIAaJ ‘(T°Q) aseaj JuaWINba YO’jaq Bulpsesas AauaaMs

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pue |/eAp!y ‘JIA Yam adUapUOdsaoOd /(7°9) asea| ajddiy peoig
Sulpsesai |aZUWaN pue |[eAp!y “sussayy YUM adUapUodsa09
‘(T°0) jsanbas Sueay paypadxa Bulpsesai jaduig

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W Uieqgesi|y ‘uaz}19 UO,

0202/LT/6

 

 

(O'T) JuawWpuawe auljjeg jo UoNesedaid ‘(Q°T) JUaWasUe.e
quad a3ejUadied 410} JUaLUpUdWwe da}e|dWa}/anisuayasdwos
jo uoljesedaid ‘(g°9) juapUawe jo sua} S,eI]Aa1S Jo sIsAjeuYy

 

o7ejsq jeoy

 

cena

 

00°0vSS

 

8¢

 

00°2TS'TS

 

f Waqoy ‘uejon

07202/LT/6

 

 

 
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pasiaas Jo uonesedaid ‘(7°T) sjuawupuawe aseaj| Japun

sanss! ssauisng pasiaas jo uolesedaid ‘(¢°9) sjuauupuawe asea;
Japun sanssi ssauisng sulpsesai Wea} 0} aduapuodsaos (Q’¢)
sjUalpUaWwe asea| SUd!eI0] (9) XIS 0} SUOISIAaJ pue sisAjeuy

 

 

 

 

 

 

 

 

sjUaupuawe asea] Sulpsesas| sj9es]U0)/sasea] Seg] OO'SS~S {ZO OS'8TES W Yiegesi|y “Yaz UOA|0Z0Z/07/6
URJON pue “JaZUAN ‘|JEApl] ‘sussayy YUM adUasajU0d aUOUda|aL jo uoldalay
3g UONdUNssY
(70) Swes ay) Bulpse3as UeJON “411A YIM puodsa40d pue yual|9 97eysq [boy ZENG] OO'OSZS =| OT 00°9TvS W espuexajy ‘spoom|0z202/07/6
WOJ} S}JUBWIWWOD pue S}UdLUPUae SuUIpUe}s]NO MalAad ‘(Z°T)
M@AIABJ JOJ UR[ON “JJ 0} puas pue JUaWPUaWe pPUe]JOH asiAay
(Z7'0) ewes ay} Suipsesas uejon 97e3Sq JE8Y Zena} OO'O9ZTS = {ZT OO'ZTES W espuexaly ‘spoom|07207/6T/6
“AW YIM puodsasiod pue JuawWpUaWwe pue]|OY Maia ‘(7'0)
awes ay} Sulpsesas uej|ON “uj lea pue JUaWpUawe JOquy UUY
asiAas pue MalAa. ‘(9°Q) aJe;dwa} JUaWpPUawe Sulsue7] yseq Weg
(€°0) UoWduinsse] s}2e1}U0D/sasee] S79] OO'SS7S 162 OS'6TE'TS | W Ylaqesi|3 ‘uazy UOA)0Z0Z/8T/6
asea| Sulpsesas YaI/eH “JW YUM adUasajUOD aUOUdAa|a} ‘(¢°0) jo uolpafay
ssad0/d uolaf[a4s pue uoinduunsse 39e1}U09 AsojNIAaxa Bulpsesas 9g UONdUINSSY
JI2APIT “AIA, YUM adUaPUOdS—aIOD ‘(¢°Q) UaOYsS 0} UOOW
pue sasea| 12afa1 JO aUNSSe 0} BWI} PUd}Xa 0} JapsO pue UO!}OW
azeull ‘(T°O) asea| JUaUdiInba osjaq Jo UONdwinsse Zulpsesas
AauaaMs “JI) YUM adUapUOdsaJOD ‘(7°Q) 39e4}U09 A1OjNIax~a
JEISTZIEIS Bulpsesas |[eapl] “4A YUM aduapuodsasod ‘(7'9)
sjuawpuawe asea| Suipsesa. |JEApr] “JIA YUM adUapUOdsa1I0D
:(¢°Q) asea| ajddiy peosg 0} JUaWIPUaWe Js41y ASIADI
pue MmaiAai ‘(9°Q) SlualupUawe asea| BuIpsesas Spoojm ‘s|\| pue
snmmeissaut'('0) 1wawiarers 93} 'ezsd]  suoneanddy| twa) oossvs [oz] os azz ts | w wisaesna waa uonlozoz/SI/6
Sulpsesas sean] ‘UjA| YUM aduapuodsaod ‘(T°9) JUaWajeys| JUaWAO|dWwz/ae4
994 S$, JID YOY Suipsesas suaky “4A YUM adUapuOodsaod
:(S°Z) Saa} isN3ny 404 Joayspeaids aaj pue JUBWA}e}s aaj Yesq
Ayadoud dujulofpe jo ayes jenuajod uo} e43s!UlLUpY ETN] OO'SS~S EO OS'9ETS W Yyieqgesi|y ‘UaZ119 UOA|0Z0Z/8T/6
pue juawasea ej/a3¢ Sulpsesa. |jeAp!] “AIA YIM adUapUodsaOD ase)
(ZT) pezepdn squalj sad s}uawpuawe ayeqsq jeay ZENG] OO'OVSS 16'S 00°98T‘ES f Waqoy “Ue|ON|0Z0Z/8T/6

 

 
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(€°0) SjJUsWpUsWY Jo

snjejs SuUIpsesas [9ZLAN [Neg YUM [Jed aUOYdaja} ‘(Q'T) Suisue]
yseq 0} SUOISIATI JO UOIWeJedad ‘(¢°Q) S}JUaWPUaLUY Jo snjejs
Sulpsesas weal jeaq ym aduapuodsaso2 pue sjjed auoydajay

ayejsq jeay

cena

00°0rs$

00°726S

f yaqoy ‘Ue|ON

0202/22/6

 

(TO) sJusupudwe

asea| 84} 0} Sayepdn snowed Sulpsesai ||eEApl] pue ‘jaziaN
‘URION “SUSSa|\J PUL UAZ}IZ UOA “S|A| WO1} BDUaPUOdS|IIOD MalAas
‘(Z'0) sqUawpUaue SNOLeA JO snjejs Bulpsesas UL|ON “UI YIM
99UG12jJUOD ‘(9°Q) JUaLUPUBaLUe BuUIsUe] JSeq ASIADJ pue MalAaY

ayeysq jeay

cong

00°097$

00°987$

W eupuexaly ‘Sspoom,

0202/ZZ/6

 

awes Zulpuesai sjiewa
pue 3uljly 40j WOdas Buljesado AjyUOW Premio} PUe MaIAadY

sunuoday

cond

00°Ssvs

v0

00°78TS

WW auuezoy ‘eqUNID

0202/22/6

 

(9'0)

awes Sulpseda. jazpay pue |jeapr] “sussayy YIM adUapUodsaOD
pue sjuawpUusWe asea] SNOLIEA aSIADJ Pue MAIAaI “(Z'Q) aSea|
991JJO 3}e40dI09 Mau Bulpsesas |jeAp!] “UW YUM adUapuUOdsasoD

$19e1]U0)/saseaq
jo uonpafay
9g UOTdUNssY

send

o0'Sssvs

3°0

00'P9ES

W Ujegesi|y ‘uaz11q UO,

0202/Tz/6

 

(Z'0) 4aps40

ayes pasodoud Sulpsesai seonq ‘A YIM adUaIIaJU0D BUOYda|ay
*(G°Q) 4apso ayes ul suOIsIAOJd aSUadI] JONI Sulpsesas JoJUeD
“SIA. YUM 89U919JU0D ‘(7°Q) JaPsO ajes pasodoid Buipsesas seony
“JIN YIM aduapUuodsaod ‘(6°Q) Japso ayes pasodoid mainay

uolysodsig Jessy

TTNg

00°Sssvs

ST

00°6T8S

W uUlegesiy “Uuaz1y UO/A

0202/TZ/6

 

(O'T) Sess! pue sjuaWpUawe sNOeA Buipseas Wea} Ajjeg
0} adUapUodaJOD Jo UOI}eedaid pue Malad ‘aAIadaJ ‘(¢°T)
sjualUpUaWe 0} SUOISIAaJ Pue SJUaWPUawe asea| jo UOIWeIedaig

aje}sq jeay

cena

00°0”S$

Sc

00°0SE'TS

f Waqoy ‘uejON

0202/TZ/6

 

MaIAas
JO} URJON “J|A] 0} puas pue JUaWpUaWe YoOJjag-eDdoH Yeig

aye}sq jeay

cond

00'097$

OO'8EEsS

WW espuexayy ‘Spoom,

0202/TZ/6

 

 

(9°) suoisiAas Yyons yo Asewiuuns

auedaid ‘(¢°Q) awes 0} SuOIsIAa’ asedaid ‘aes 03 Padsai
YUM JaPJO NOI MaIAa ‘(G°Q) J9PIO LNOD 0} JUeNSINd sasuad}
JOnbI| jo saysues}] Sulpsesas UdZ}9 UOA “S| YUM adUaJajJUOD

 

uolsodsig jassy

 

TON

 

00°SO0vS

 

 

00°295$

 

*q Ajiwg ‘soquez

0Z02/T7/6

 

 

 
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(TO) JUswWpUawWe asea| WOWaQq

Sulpsesau |@Z1aN “JJ 0} aDUapUOdsa|OD ‘(¢°Q) JUaUPUaWe
ased| HWOJ}9Q asIAdd ‘(T'O) 84ND WOujaq Bulpsesas jazeN

“AIA YIM adUapUOdsaoOd /(9°Q) BuLueaY ayes 10} sanss! UuoNIafau
pue uolduinsse Sulpuegai jadwid pue ‘uimpyeg ‘|Jeaply
*SASSAIA] YIM 99U3J9JU09 BUOYa|—a} ‘(¢°Q) sJ2e1]U09 AJOjNIaxa
Sulpsegsa. ||eEAP!] “UIA] YUM BdUapUOds—aOD ‘(7'0) sasea|

pales 0} UONOW SNqiuWO YyUNO} 4104 JapsO asiAas ‘(Z7'Q) sasea|
eafes 0] UONOW SnqiuWoO YUNO} Sulpsesas Japso Bulpseda.
43}SO4 ‘SI] YIM a9Ud198jU0d aUOUda|—a} (7°90) JUaPUaWwe ased|
pue 34nd ujodul] Sulpsesas SUIAag “JIA] UM aIUapUOdsaIJO)

$19e1]U0)/sasea]
jo uolnsafay
9g UONdUUNSsY

Scena

00°SSt$

00°Z60'TS

W Yiaqgesi|y ‘uaz UO,

0202/€Z/6

 

uonesidde
da} JULY SUIPseBaI YISJDH “UIAJ YUM BDUaIaJUOD aUOYdalayL

suonesiddy
quawAojdwy/aea4

9Td

o0'Sssts

OS'9ETS

W Yyegesi|y ‘uaz11q UO;

0@02/€Z/6

 

(€°0) Sulseay

ayes 40} epuase Suljeip ulsaq ‘(p'Q) awes Bulpsesai seony up|
YUM sdUapUOdsasJOI puke JapsO ajes pasodoid pasinas MaIAaI
‘(Z'0) JuaWaaide aseyoind Jasse JO} ssaqQeW UONeBI]| JO sNyeys
Sulpsesai ||eAP!] pue jaz aN ‘sussayy] YM aduapuOodsai0D

uolsodsig assy

TENa

o0'ssts

60

0S'60¢S

W yieqgesi|q ‘uaz11q UO

0202/€Z/6

 

suoljel108au Ss}udWpuUawe BZulpsesas
ayepdn pue aduapuodsaisoo Ajieg Jo MaIAaJ ue Jdiaday

aje}sq jeay

cond

00°0vSS

00°Z9TS

f Haqoy ‘uejon

0202/€Z/6

 

sjunowe aind pue
qUaWpUsWwe 10sJaq Sulpsesas uaZz}1q UOA ‘S| YUM puodsa07D

ajeysq jeay

cena

00°09Z$

00°7S$

W espuexaly ‘Spoos,

0202/€Z/6

 

02z/Sz/6
uO Suleay JO} pajnpayds suayew Jo epuage jo 39130U UO YOM

uolsodsig Jassy

TING

00'06TS

00°06TS

WN JouUeT ‘PysWapOrIN

0202/€Z/6

 

 

(p'0) UoNdafas jeNUa}0d 10} sjUaWAaa|IZe

quawAojdwa mana ‘(€°0) Sasea] YODH pue oozewe]ey
Sulpsedai ||eAP!I] pue [aZPaN “SISSaW) YUM BdUaPUOdsa0Od {(T"0)
uoldefe1 asea| UOISUIXa] Bulpsesas YOSJaH pue seon] ‘sussajj|
YUM sdUapuodsa.Od “(7°Q) sJUaLUPUdWe asea| BuIpsesai
J2ZUON “AIA YUM aduapuodsasoOd ‘(¢°9) Jaayspeaids UOIdUWNsse
Sulpsegai |JeEApr] “4 YUM aduapuodsaod {(7'Q) syoe1}UOD
Asoyndax—a JO UON|dUUNSse Sulpsesas |JEAP!] “4AA) YM BdUaIajU0I
auoydaja ‘(¢‘T) Sueay ayes 10 Jaayspeaids uondunsse yeiq

 

sy0e1jU0D/sasea]
jo uonafay
9 UOTWdLUNSSY

 

Sond

 

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ve

 

 

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W Ujegesi|y ‘uaz}19 UO,

020z/2z/6

 

 

 
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(S'0) 48ps0 ayes pue Wd papuawe

JO Suljlj JO 39130U asIA|’ pue MaIAaI!(Z'Q) Buleay ayes Jo oddns
Ul SUO!ZeIe|IaP MaiAad ‘(Z7'Q) JaPsO ajes pue Wd papuawe

JO Buljlj JO 8910U Bulpsesas jjasoy “UW YUM aduUaIa}U09
auoydaja} ‘(['9) Sueay ayes ye auUepuaze Bulpsesas

YoSJaH “JI PUL 4999 YIOY YIM adUSpPUOdSaIOD ‘(7°9) SuLWeaY
ayes Je adUepUalje JOJGQap Bulpuesas NOD YUM adUapUodsa109
‘(€°0) Sueay ayes Sulpsesas O188eyy “Ul YUM adUaJajUod
auoydaya} ‘(['9) Suleay ayes Bulpsesas |JeApl] “AIAY YUM
adUapuodsassod ‘(Q"T) Suleay ayes oJ epuase Sujeip anuiuo7)

uolisodsig Jassy

TONG

00°SStS

OO'E8T'TS

W yreqgesi|y ‘Uaz}19 UO,

0202/v2/6

 

(€°Q) sedueyp s,7] Bulpsesas weal jeaq 0} aauapuodsas0d
:(3°0) sjuawWpUaUY pasiAal Jo MaiAas pue Jdiaday

ajejysq jeay

cena

00°0vSS

00°76SS

[ Haqoy ‘uejon

070Z/vZ/6

 

(Z'Q) awes Sulpsesas uaz UO, “S| YIM adUapUOdsaIIOD
‘(p'T) suoisafgo ajes aayqIWiLUOD pue [Sp ‘UONOW ajes MalAaY

uolsodsiq jessy

TING

00's6s$

OS'672'TS

*g uaydays ‘Mol

0202/vz/6

 

 

(TO) SuOIsiAas JUDWPUdWe Bulpiesal
UdZH UOA ‘SIAJ PUR JAZHAN “JIA WOIy BDUaPUOdSa1I09 MaIAaJ
-(T°0) JUBWIpUsWe JDqYO Sulpsesas Ue|ON “4 YUM puodsai05

 

ajeysq jeay

 

cen

 

00°097$

 

 

00°7SS

 

W eupuexayy ‘spoom

 

0202/v2/6

 

 
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(€°0) Sueay ajes pausnolpe puaye ‘(7°Z) Suseay ajespuayje| uonisodsig Jassy TING] OO'SSHS |Z'E | OO'OSH'TS | W Yieqesi|q ‘Uaz119 UOA}0Z0Z/SZ/6
:(Z7'0) 42950 Paloig YUM UONNJOSaJ BUIpsesai sulAag “UIA\J
YUM BdUaJajUOd aUOYdal—a} ‘(T'O) Sueay ayes Bulpyesau jjeapry
“JIA YIM 89UaJajuod auOYdala ‘(7'Q) Sulueay ayes pue ‘snyeys
ano ‘epuage Suipsesas sean] “4 YUM aduasajuo0d auoYdajay
SJUSLUPUBWE O} SUO!SIASI P4O|/pUe| JO MaIAaJ puke Jdiaday a7ej4sq [bay ZENG] OO'OVSS JET 00°9Z0'TS f Haqoy ‘Ue|ON|0Z0Z/S7/6
sjuawipuawe asea] Sulpueda a}e3sq jeay wend] 00'09ZS =|Z'0 00°7SS W espuexaly ‘spooM|0Z07/SZ/6
|[2Ar] pue Uue/ON ‘sussaj Pue UdZ}PJ UOA “S|A] WO. sjlewa MalAay
(€'0) UoNDIaIqo and yo UOIINJOSa4) $y9e413U0D/sasedy G7] OO'SSPS [67 | OS'EZZ'7S | W YIegest|3 ‘U9zZ713 UOA|0ZOZ/Z/6

Sulpsesas BVM “4 YIM adUapUOdsaOd {(Z°0) 4apso ayes
ulasuadl| JONbI| JOq’y UUY 0} pajzejas UOISIAOId Bulpsesai |jasoy
“AIA YIM adUapuodsaod (¢°T) aes Sulpsesas aDUapUOdsaIO9
pue ajnpayas uonduinsse asea| pue yde1}U09 Ayoyndaxa Bulyeip
anuljUod ‘(€°Q) Swes Sulpsesas jaZ9N “A YUM aduUapUOdsa|s0D
pue JUawipuawe asea| S,e||9}$ 0 SUdISIAa’ pasodoud

S$,pso|pue] MaiAal ‘(€°Q) Sanssi UOIWdUuNsse pue aind Buipsesas
|JaSOy pue sen ‘sussayy YUM adUapUOdsaOD) ‘(¢°9) UOIWdWNsse
asea] pue 19e1]U09 AJOjNIAxa JO snjejs BUIPsedas |jeAp!]

pue [AZ}aN “Sussa] YM BdUapUOdsaOD *(T°O) auINSse 0}
$39e13U09 AJoyndaxa Sulpyesas ad1aq “JJ YUM BdUapUOdsaI09
‘(T°0) Ssaquiid Bulpsegau |jeapr] “UW YM aduUapuodsa09

‘(Z'0) sq2e43U0d AJONIaxe Mau Bulpsesai |jasoy “IW

YUM sdUapUOdsaO ‘(T'Q) SUOIIa[go aind BuIpsesau jjasoy “UIA
YUM adUapUOdsasJOD ‘(T°Q) UONDAlgo aind BuIpsesas doupuen
“AIA YIM adUapUuodsasOd (€°Q) SaiNd asea] Jo snyeys Bulpuesas
JAZUON “IW YUM aduasajuod aUuOYdal—a} ‘([°9) UONIa[qo ain

JO uOlNjosa4 pasodoid Suipsesas Jays “UA UUM adUapUOdsaod
‘(Z°0) UONDalgo aind Bulpsedas Jays UW) YUM adUaIajU0d
auoydaysa} ‘(T°9) suoisaf[qo aind Buipsesas seonq “4Ay YIM
99UaJajU0d BUOYala} ‘(7°0) UOIdUINSse yDeIJUOD AYOyNIAaXxa

pue asea] Sulpsedgas ||eAp!] “JA YIM adUaJajUOD aUOUdajaL

 

Jo uonvafay
9g UOTdLUNSSY

 

 

 

 

 

 

 

 
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(Z7'0)| syesjU0D/saseaq S7ya| OO'SSS {ZT | OS'EZLLS W yeqesi|y ‘U9z119 UOA|0Z07/67/6
uoldefas asea] Sulpsesas psojpue] uoj3uixa] 0} aauapuodsa.s09 jo uolalay
‘(T°0) UoONOW Sulpsesas |jeAp!] “4A YM BdUapUOdsea.uOd ‘(¢°0) 3g UONdUNSsY
yaflas 0} $}9es]U09 BUIPsesaJ [9Z}1aN pue |JeAp!] “sussayy YIM
32UaJaJUOD aUOYda|ay ‘(6°0) Sasea} pasidxaun pue s}9eI}U09
Asoynaaxa yafas 0} UOIWOW snqiuwo YYY suNjyesp anuguo)
owes suoijesadQ ZING] OO'O6TS = |2'0 00'8ES "y Ajsaquily “Bul|g2!N|0Z0Z/6Z/6
Sulpsedas Ja!1Yy Ney “4\] 0} BDUaPUOdsaJO9 ‘a}ep anp asf jo ssauisng
qUaWaye1S JayYIOP pue aseqejep yx1eWaped ayepdn ‘uonesiyjdde
ACW SPs) SANYI NOVYD YUM UONIBUUOD U! Bd1YjO YAeWapesL
pue juajed Sajeis pawuf WOd adUeMO}|\y JO BDIJON MaIAaY
(6°0) s}uawpuawe asea] 0} sadueYd s,psojpueq| $39e1]U0D/saseay Szya] OO'O”SS =|6'E 00°90T‘ZS f Haqoy ‘UejON|0Z0Z/8Z/6
Sulipsegas wea] jeaq yum je9 JO Npuod pue Jo} auedaid jo uonvafay
‘(0°€) sJUBWPUdWe asea| 0} SUOISIAAI S,pso]puR] Jo sishjeuy 9g UOldUNSSY
asea] 321Jo aje}s] jeay zed] OO'09ZS = |T'O 00°97$ W espuexaly ‘SpoomM|0Z0Z/87Z/6
932100109 Ajqieg Sulpseda uaz}19 UO, “S|IA] YUM BdUapUodsaloO7
awes sulpiesai Suloday €€Ng| OO'SS~S |S°0 OS'L77S W auuezoy ‘e1UNID|0707/8Z/6
sjleua pue sodas Sunesado Ajyjuow ysn3ny ajly pue MalAay
(Z'0) ese] DgUy Sulpsesas |jeapl] pue jaziayN ‘sussayyj| s}esU0D/saseay Sta] OO'SS~S = |t'L 00°Z00‘ZS | W Yyeqesi|q ‘u9az719 UOA|OZOZ/8Z/6
yum adUapuodsajod ‘(7°Q) saseaj Jo UONduwNsse Bulpsesas jo uonpafay
SIN] ‘JIAI YIM BdUd19JU0D aUOYdaja} ‘(9°T) SJUaWUIPUdWwe asea| 9g UONdUNssY
Sulpsegas ||eEAP!] pue ‘jaZ}HaN ‘ULJON “Sussa|| YUM aduUaJajU0d
auoyda|a. ‘(Z7'0) alas 0} sasea] pue sjde1]U0d jeUOIppe
Sulpsesass ||eApl] pue [azay “sussayjy 0} aQUapUOdsa09
:(Z'Q) sasea| yefe1/auunsse 0} aw} Jo UOIsSUa}xa BuUIpsesai
Japso asiaas ‘(9°7) uonow UolIafe1 snqiuwo YY YWesG
(T'0)| uontsodsig jessy TENG] OO'SS~S =|Z'0 OS'8TES W yiaqesi|y ‘Uaz13 UOA|0Z0Z/87Z/6

Jaspnqg uMOp-pulm JO Sd} JO aJeWI}SA BUIPJeSII |IZHAN “AW
YUM aduapUuOodsaOd ‘(['Q) Sulseay ayes pausnofpe Bulpsesa
SIM “JIA 02 BdUapUOdsa|09 ‘(T'0) Vd 40} snyeys UOeSI})
Sulpsesas adJald “JW YUM aduapuodsasod ‘(T"0) Wd 404 suue|o
(6)(4)€0S paly Suipsesas adsaig “sy YIM adUapUOdsaod ‘(¢€'9)
uoleipaw sulpsesas sean] “uJ YIM adUaJaJU0D aUOYdalay

 

 

 

 

 

 

 

 

 
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9'ETT |00°0Lb‘0SS WLOL
JUdLUPUdWE O} SUOISIAaI $O UO}eIedaId 9yeqsq |eoY ZENG] OO'OVSS IEE 00°Z8L'TS f Waqoy ‘Ue|ON|0Z0Z/0E/6
(T'T) JUaWpuawe} s}2e1]U0D/sasea] S7AG] OO'SS7S = jL'7Z OS'87Z'TS | W Yieqgesi|y ‘uazi13 UOA|0Z0Z/0E/6
asea] pue|jOH asiAas ‘(9°T) sjJudWpPUawe asea] Bulpsesas jo uolpDafay
URJON pue “jaZON “|[EAP!] “sussay YUM BdUaJajUOI aUOYdal|a] 9g UOIIdUNssy
sasea| y9af{aJ 03) s}9e1]U0D/saseay S79] OO'O6TS = |€'0 00°2S$ "WW J9UeF ‘PYSWAPOHIN|0Z0Z/0E/6
JWI} JO UOISUS}X9 JO} J9PJO Bulpsesas adiAsas JO jooid asedaid jo uonsafay
9g UONdUINSsY
(60) stuawpuawe asea] 0} SUOISIAa’ JO UOTeuedaid ayeysy jeay ZENG] OO'OVSS §It'T 00°9S2S f Waqoy ‘Ue|ON|OZOZ/6Z/6
:(¢°Q) Aueluuuns snjejs syuaupuawe 0} ajepdn jo uoNesedaig
aayspeaids sujejs Sulpsegai sjiewa pue MalAdy suolq2afgO vInd| 00'SSt~S = 17'0 00'78TS W auuezoy ‘e1UNID|/0707/62/6

 

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(TQ) 48p40 axajdwiod ‘(¢°Q) sasea] 0} UOWDa[a4| ~—_ syoesyUOD/saseeq Scag] OO'O6TS |S°0 00°S6$ “WW jouer ‘Pyswuapoy!N|0Z0Z/0T/6
P4lyz 0} suoDa[qGo OU jo UO!eIYIW99 asedad ‘(T'9) sUONIAIgo 404 JaxDOp yDEYD jo uolalay
99 UONdUINSsY
ZO oo'ses TWLOL
ewes suonesado ZING] OO'OETS |Z'0 00's€$ "y Aaquily “Buljq9!N|070Z/62/6
Bulpsegsas Ja1yyned “yj 0} aUapuodsa.Od ‘ajep anp asp jo JUaWA}e}S JaxD0p pue ssouisng
aseqejzep yJeWapes} ajepdn ‘uonesiydde yuewapes} $31Y4 YOVYD YM UO!}aUUOD
Ul BIO JeWapes] pue JUa}ed Sa}e}S Pau WO BdUeMO}IY JO 9DIJON MaIAaY
T? 0S'6vZ‘TS WLOL
(Z°0) @wes Sulpsesas u9z719 UOA “SW YUM) —_UOIISOdsiq Jessy TING] OO'SESS |T°Z OS'6v7Z'TS “g uaydars ‘mo19]/0702/tZ/6
a.uapuodsaod ‘(p'T) suodalgo ajes aajWwWOD pue |Sf ‘UOHOW ayes MalAay
cv OO'TT6‘TS TWLOL
yeayspeaids swiejd Suipsede sjreua pue MalAdy suoiefqo via] 00'SS~S |r'0 00°78TS W auuezoy ‘e1UNID|0707/62/6
/ uoryessiulwupy
swiey)
awes Sulpsesa sjiewa pue soda, Suljesado AjyjuOW Jsnsny ally pue malnay sulmoday €€ng]| OO'SS~S {S°0 OS'L77$ W euuezoy ‘e1UNID|070Z/87/6
awes Sulpsegai sjiewua pue Bull} 10f Woda Buljesado AjyjyUOW premio} pue MaIAadY sumoday €eng] oo'SS”S |r'0 00°Z8TS W auuezoy ‘ejUNID|0707/77/6
wes al} pue JUaWAje}s jeINUeUI, Suipyesai sjiewy suloday Eg} OO'SS~S 15°0 0S'LZZ$ W auuezoy ‘e1UNID10Z0Z/9T/6
sjeloueuy aunf pasiaes Sulpsesai sjiewy Sumoday €€Nd| OO'SS’S {70 00°78TS W auuezoy ‘eJUNID|0707/ST/6
Sanss! aseaj Suipsesai Zr YUM sjieua pue saduasajUuoD syeujuo)/saseay] Gzyd] OO'SSbS {70 00°78TS W auuezoy ‘e1UNID|0Z0Z/TT/6
jo uonpefay
9g uONduNnssy
‘aja ‘Sanss! asea| SulpseSau SaduasJajuod pue sjiewy| —sje4]U0D/sasee] Szyal OO'SSrS }9°0 OO'ELZS W auuezoy ‘eyUNID|070Z/0T/6
jo uolpalay
3g uONduNssy
(70) ewes Suipuesa, sjrewa|uonejnsiulupy eased ETNA] OO'SSPS IT 00°SStS W auuezoy ‘ejUNID|0Z0Z/T/6
pue uonnad Auejunjo, Dy pandas ‘(9°Q) sanssi sue|o Sulpsedau sprewia jesanas
vt 00°29S$ WLOL
(9°0) suoisinas yons Jo Auewiuuns auedaud ‘(¢°9) awes uonisodsiq jassy TING! OO'SOPS $= It'T 00°29SS$ *g Aji ‘10]UeD|0707/T7/6
0} SUOISIAas Buedaid ‘awes 0} }DedsaJ YIM JapsJO NOD MaiAad ‘(S°) JapsO NOD
0} Juensind sasuadl sOnbt Jo Jajsues} SulpseBas uIZ}19 UO “S| YUM BdUdIajU0D
80 00°09¢$ WLOL
Auinbu 4aumo Ajinba 0} asuodsa ajyajdwo7 suayqey pseog 8zyg| 00'SZSS {8°0 00°09vS uaso7 ‘siNspuy|0Z0Z/T/6
pue aoueuseA05
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BAIeLIEN *dioseq 31 apo) FSe] /93€y Paiia} SAH Ia | Huy paiiid OWeN Yd 27eq

 

 

 

 

 

 

 

 

 
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6LZ 00°990‘STS WLOL
jusWpUaWe O} SUOISIAaI JO UOI}BIEda1g 937e3S] |P9y ZENG| OO'OVSS JEE 00°78Z'TS f Haqoy ‘Ue|ON|0Z0Z/0E/6
(670) sjuaupuawe asea] 0} sudIsiAas 97l3S] [POY ZENG] OO'O”SS [rT 00°9S2S f Heqoy ‘UejON|0Z0Z/62/6
Jo uolesedaid ‘(¢°9) Arewuuns snjejs sjuaupuawe 0} ayepdn jo uoNesedaig
(6°0) sjuawupuawe asea] 0} seduey) s,psojpue} Suipsesas wea jeaq ym [Jed 40] — sesjUOD/saseay SZxg] OO'OVSS I6'E 00°90T‘ZS f Waqoy ‘UejON|0Z0Z/8Z/6
yonpuod pue Jo} aiedaid ‘(Q"¢) sjuaUpPUaWe asea] 0} SUOISIAaL S,psojpue| Jo sIsAjeuYy $0 uonafay
7g uUONdUNssy
SJUBLUPUBWE O} SUOISIARI PJO|PUR] JO MIIAaI pue diadey 97€4Sq |P3Y ZENG] OO'OVSS [ET 00°9Z0'TS f Waqoy ‘ue|ON|0Z0Z/SZ/6
(€°0) seBueyo s,77 Bulpsesar ayeysq jeay ZENG] OO'OPSS [TT 00'v6ss f aqoy ‘Ue|ON|0702/v2/6
wea] jeaq 0} aduapuodsaos ‘(9°9) sjJUaWPUAaLUY pasiAal Jo MalAas puke Ydia.ay
suonenosau 93l3Sq [POY ZENG! OO'OVSS J€'0 00°79TS f Haqoy ‘uejON|0Z0Z/EZ/6
syuawpuawe Sulpiesas ajepdn pue aduapuodsaoo Ajeg Jo MalAas pue ydleday
(€°0) s}uapUaluy Jo snyejys Bulpsesas jaz}an jNeq YIM 9}lySq JEOY ZENG] OO'OVSS |8T 00°7Z6$ f Haqoy ‘UejON|070Z/72/6
[J29 auoydaya} ‘(Q'T) Suisueq seq 0} sUOISIATI Jo UOIeIedaid {(¢°9) sjJUaWiPUaUY
JO snjejs Suipsegas weal jeaq yyIM aduapuodsa.sod pue sijeo auoydayjay
(0'T) Sass! pue sjuawpuswe 93l3Sq |e3y ZENG] OO'OVSS |Z 00°0SE‘TS f Waqoy ‘UejON|0Z0Z/TZ/6
Snowe Sulpieas wea} Ajeg 0} a2uapUodaON Jo UONeIedaid pue MaiAad
‘QM B01 (GT) SJUaWUPUae O} SUOISIAaJ pue SJUaWPUdae asea] JO UONeIedaig
(Z°T) payepdn squal Jad syuswipuawe 9}€}SJ |EOY ZENG] OO'OPSS 16'S 00°98T‘ES f Vaqoy ‘uejON|0Z0Z/8T/6
pasiAsi jo uonesedaud ‘(7°T) sjuawpuawe aseaj Japun sanssi ssauisng pasiAas
jo uonesedaud ‘(¢°Q) sjuawpUawe aseaj JapuN sanss) ssauisng Bulpsesas Wea} O}
a2uapuodsaod (Q'¢) sJUaUPUae asea] SUOI}EIO] (9) XIS 0} SUOISIAaJ pue sisAjeUy
(O'T) JUaWpuswe auljyjag Jo UoNeJedasd 93}e3S] [LOY ZENG] OO'OVSS 13°Z 00°ZTS‘TS f Haqoy ‘Ue}ON|0Z0Z/ZT/6
‘(O'T) JUsWasUee JUaJ adeJUaIIad JO} JUaLUPUaWe a}ejdwia}/anisuayasduiod
Jo uonesedaud ‘(3°9) JuawWpUawe Jo Sa} S,e}|a1S JO sisAjeuy
(p'0) s}uawWpUawWwe Jo Sua} BUIpsesas JUdI}D O} BUapUOdSaIIOD aje}sq jeay ZENG] OO'OVSS |r7'Z 00°962‘TS f Haqoy ‘uejON|0Z0Z/9T/6
‘(O'T) s}UaWUpUaWe pasodoud 0} aAIJeJaJ Sasea| yo sisAjeue {(O°T) PUe]OH
pue ujooury JOj sjuawpuawe asea] pasodoud 0} sUOISIAaI JO MAIAaJ pUe aAIBIBy
(€°0) sJuawWpUaWwe asea] SUuIpseZai Wes} YIM adUaIaJU0D 93e}sq jeay ZENG] OO'O”SS {9°0 OOZES f Haqoy ‘UejON|0Z0Z/ST/6
‘(€°0) suoNpesuesl GG pue Eg aDIaWWOZ Bulpsedai sanss! JO MalAal pue anladay
ve 00°9St$ TWLOL
sasea| afas 0} WII} JO UOISUA}Xa JO} JaP4O BulpseBas adiuas Jo Jooid aiedaid| —syoes]UOD/saseay SZ] OO'O6TS JE'0 00°2SS “W Jouefl ‘byswapoOy!N|0Z0Z/0E/6
jo uonpafay
Q UOldWNssy
02/SZ/6 UO SulJeay Jo} pajnpayas siayew Jo epuase Jo BaNOU UO JOM} ~—_ UONNISOdsiq assy TING] OO'O6TS |T 00°06TS "W yauer ‘PsWapOy¥IN|0ZOZ/E7Z/6
suolafqo and Sulpsese, Sueay Sulusnolpe Buipsesai sd!Asas JO jooid asedaid uolsodsiq jassy TTNa! OO'O6TS 1770 00°8ES “WW youer ‘DjswapOyXIN |0Z0Z/9T/6
(TO) Pally 4epso pue uonejndiys suipseses} = uoljisodsiq yassy TING] OO'OETS |v'0 00°92$ “WW Jouer ‘PswapoyiN |0Z07/pT/6

NOD YUM |[/e9 sudYydajay ‘(¢°9) sSulueay UsNolpe 0} Japso pue UONeE|Ndis ajajdwioD

 

 

 

 

 

 

 

 

 
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snjejs ased Suipsesai 10}/Pasd9 YUM adUasajUOD auOYdalal SAOUPIID YUM O€NG| OO'SS’S {Z'0 00°T6S W yieqgesify ‘uaz13 U0A|0Z0Z/0T/6
SuOo!}eIIUNLWLUO
2M SBuNVa\)
(Z'0) JUawUpUeWwe asea] 21/835 Sulpuedas jaZaN “Wy YUM adUapUOdsaOD| —_-s}9esUOD/saseaq SG7ya] OO'SSPS }7°Z 00'TO00‘'TS W Uiegesi|y ‘uaz119 UOA|0Z0Z/0T/6
‘(Z°Q) @wes SulpseSas sean] “4 YM aouapuodsaisod pue Jaayspeaids uoNVal[go jo uonoafay
aino ayepdn ‘(9'9) ssad0sd uonduinsse pue aund Buipsegas JUaNIZUOD pue |jeApr] 9g uONduuNssy
“I YIM a9U9849}U09 suOYdala} /(7°9) JUNOWe aNd Bulpseas sajnpayos}oH Aq pajly
uolqDefqo Mata ‘(7'0) saseaj JO $39eI]UOD JO UO!|dUINsse pue UONDef{e1 Sulpsesas
HEAP! “AAI yyIM adUapUOdsaos ‘(T'9) suoIafgo aund BulpseBas seon7 A) YUM
aouapuodsaod ‘(7'9) sjunoWe and Suipsesas |JeApr] “4A) YIM sdUapuodsaO>
(€°0) Susaou09 1S Buipsesas seon] “ul] — uoNIsodsiq assy TING] OO'SSPS JET OS'T6SS W Yiaqgesi|y “uaz! UOA}0Z0Z/0T/6
YyM aduapUodsaod ‘(¢°Q) Wd 0} suo!al[qo pue Suesy ajes Sulpuesasoisseyy
“IA YUM aduUaJajU09 auOYdala} ‘(€°Q) JeESpNq UMOP-pUIM JO} SdB} BuIpJeSa [eZAN
“IA YUM adUapucdsaod ‘(T°O) Sueay ayes SulpseZas seonq “J YM aduasajuod
auoydaja} ‘(T'0) Sueay ayes Jo snzeys Buipsesas doupyeny “AIA] YIM aouapuodsa0)
(7'0) sye4zU0d yo UOINdLuNsse}| =—_sJoeuJUOD) /sasea] Sena] OO'SS’S |Z0 OS'8TES W yyeqgesi|y ‘UeZ19 UOA10707/6/6
pue ‘uonpafes ‘sjunowe and Sulpsesad |jeApr] “4A YIM adUaJaJUOI BUOYdal—ay ‘(¢"0) jo uolpafay
awes Sulpsesas SjuaWaaIZe pue ound Bulpsesa. |JEApr] “JW YM aduapuodsas0D 3g UOIWduNssYy
eduawy!  $9e1]U0D/saseay Sera] OO'SSPS |7°0 0O'T6S W Yiegesi|3 ‘uaziz UOA|07Z0Z/8/6
JO UOIeIOGIOD eased] 10} Bully JON Buipsesas adsaig “Uj YIM BdUapUOodsa07) jo uoldafay
2g UOdWNssy
uonesiy| epuoj4 Sulpresa. Jpuerg “IW YUM aduaseju0d auoydajay uonesi] 8Tya| OO'SS~S jE0 OS'9ETS W Yiaqgesi| ‘Uazi193 UOA}0Z07Z/E/6
uolecydde aa} 10} adioaul sN3ny MalAay suoiesiddy 9TXg] OO'SS’S {tO 00°78T$ W yzegesiy ‘Uaziz UOA|0Z0Z/E/6
quawAojdwy/ae4
(Z°0) sanss} aind Sulpseses jaz}aN pue |JEApr] “sussay] YIM aduUapUodsaod ‘(7°9)|  sesJUOD/saseay Sea] OO'SS’S |v'0 00°78TS W Yieqgesi|3 ‘uaz3 UOA|0702/2/6
|Sed| 9d1JjO ayesOdJO) BulpueBas jazpan pue |jeAp!] ‘sussay] YIM adUapuodsai0D Jo uonpafay
3g uONdUWNssy
uoNesI}] Epuoj4 Suipsesas pueusag “s|| YUM aouUa42}U0} uonesiy] STNG] OO'SSPS |E0 OS'9ETS W yzegesi|9 ‘uaz UOA!10707/7/6
Japjoy Ayinba 01 asuodsau Sulpse8as adUapUOdsaOD suse] pueog 8zyg| OO'SS~S {TO oS'Svs W yyegesi|y ‘Uazu13 UOA|070Z/T/6
pue adueusaA0D
ayesodioy)
asea| Juatudinba Zulpseas jaz}aN pue |JeAp!] “sussay] YM adUapUOdsaIOD} —_s}9eJUOD)/sases} Send] OO'SSPS {EO OS‘9ETS W Ureqgesi|3 ‘U8Z}19 UOA|07Z0Z/T/6
jo uoloafay
9 uoHdwnssy
9°0 OO'PTTS WLOL
(Z'0) 93l4Sq Jeoy ZENG] OO'O6TS |9°0 OO'VTTS lua “OsNOYysUuo}s|0707Z/ST/6

s}uawinoop asea] pue JUBWase jedOIdIDay JO UOIJe1e]9aq apIAosd 0} UdZ}IFUOA,
"SIN YUM adUapUOdsaJOD jilewa ‘(7°9) aBeue|! Ul ajqejleAe UONeEyUSWNIOp
youeasad ‘(7°0) DTI ‘Bulpying aduawwo0) GS Wo D7] ‘Bulpjing asaww0D

€G WO JUBLUaSed SuIpseZaJ UIZ]IZ UOA “SJ YUM SadUapUOdsa|OD j!ewWy

 

 

 

 

 

 

 

 

 
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(v'0) eusodgqns aionq "3S YoY SuipseBas Buesy
puaye ‘([°Q) eusodgns ain] ‘15 Wo Bulpsesau pjasun “sj YM BdUapUOdsaiOD

uonesiy

8st

00°SSt$

s'0

0S'L77$

W yiegesi|3 ‘uaz}q UO,

0202/LT/6

 

yoda Sunesado Ajyjuow Ajns jo snyeys Suipsesas yaasD YOOY YM adUapUOdsas07}

Suroday

eend

00°ssvs

os’SvsS

W ulegesi}y ‘uaz}19 UO,

0202/9T/6

 

(T’O) jeAoudde yuawpuawe
asea| Sulpsedsas Seon] “J\| YUM aduapuodsaod ‘(7'9) asea] UjOdU!] BuIpsesal |JeApr]
“JIA YIM aduUapuodsalOd ‘(7'Q) sasea 0} sJUBWPUaWe BuUIpseas [azHAaN pue ||eAp!r]

“SASSBIA| YUM BdUapUOdSaOD ‘(T°O) Bul]}Jag ISeq 4OJ Bund BulpueBau jazpay pue
APT] ‘sussay] YUM eoUapuodse.sod ‘(Q'T) esea] auljjjag Jseq 0} JUBWUPUaWe asiral
‘(O'T) asea] pueyjoH 0} JuUaWpUAaWe asiAas ‘(Q'T) asea] $,e]]23S 0} JUaWIPUaUe asiNay

syoesju0D/sasea]
jo uolpafay
9 uoNduNssy

Sed

00'SSt$

00°6ZL'TS

W yiegesiy ‘uaz}y UO,

0202/9T/6

 

awes Sulpiesal
a.uapuodsaod pue uo!Ne jo UO!e]/aDUeD BUIpJesa Bd110U asIAeJ pue MalAadY

uoljisodsiq jassy

TTNa

00°SSt$

00°T6S

W yzeqgesiy ‘uaziIg UOA

0202/9T/6

 

(Z°0) sjuawpuawe

asea| SuIpsesas |JLAP!] pue jazZHaN “ssSSay YIM sdUapUOdsa.Jod ‘(G°Q) sasea|

pue s39e4}U09 Ayoyndaxea Jo uoIduunsse pue Uo!Dal[as Bulpsesa. |JEAPT] “J YM
aduapuodsasod (Q'T) JUaWIPUaWe asea| UjODU!] asIAad pue Maina ‘(T'0) Aadoud
e[J2IS Sulpsesas Juawasea jeNuajod Buipsesas |jeapr] “4IAJ YM aduapUodsai0D

syes}Uu0)/saseay
jo uoldafay
3 uONduNssy

sod

o0'ssrs

8T

00°6T8$

 Yreqesi| ‘UazHg UO,

0202/ST/6

 

(T°0) Qwes SuipseZas a8ey “4 YM BdUIasaJU09 BUOYda|a} ‘(T'O)
awes Zuipsesas a8ey “J YM aduapuodsaod ‘(7°¢9) awes Bulpsesau seonq “uy
YUM adUasJaJUOI BUOYdala} ‘(7°Q) Suipuejs BaljeAap Bulpsegas uolendys malAay

uolqeuysiulwipy ase)

etd

oo'ssvs

00'ELz$

W Ujeqesiyy ‘uazyg UO,

0202/vT/6

 

(€°0) uonejndnys Sulpsesai

(MLD 404 JasuNod) jalBids “sy YIM adUaIajUOD BUOUdal—a} ‘(7°9) awes Bulpsesou
Sp4o]pue] JO} JaSUNOD 0} BDUapUOdsaJOD ‘(¢€°Q) SUOIIaI[qo BoUeINSSe ajyenbape
93210dsJO5u! OJ UO!eiNdIys asia. (7°90) SBule|ay adueINsse ayenbape a}e10dso09u!

0} Bueay Usnofpe 0} UONe|Nds Bulpsega 193804 “Ss YIM adUaIajUOD BUOYda]}a}
‘(Z'0) 388png uMmop-pulm 4104 saaj BulpseSas jaZ aN “WW! YIM aduUspuodsai09

‘(T°0) B2uepuarje aduUa1aJUOD snjejs Sulpsesas YUSOy “si YUM BdUapUodsas0D
‘(Z'0) 29UasajUO0D Snjej}s Bulpsedai [az}aN pue seonq ‘sussayy YIM aduapuodsaii0D
‘(T°Q) Suueay ayes jo JuUawWUNOlpe pue JUNOWe ond Bulpsesas ay

JIN YUM aduepuodsauod {(7°9) Sueay ayes Usnolpe 0} Japsio pue uOHeE|Ndis asinay

uoljsodsig yassy

TING

00'Sssts

BT

00°6T8$

W Ujeqesiy ‘uaz}1y UO;

0202/vT/6

 

(Z'0) aund Bulsueq

yseq Sulpsesau jazaN pue ‘seony “‘|Weapry “sussayl YIM BdUapUOodsasod {(7°9)Bueay
ajes pue aind Sulsue] yseq Sulpsesas BNI “JIA| YM BdUapUOds—a.uOD {(7°9) SueaYy
ajes JO JUaWLINO[pe pue aind BZulsue] Jseqj Bulpsesas 931M “AIA] YIM BOUaIajUOD
auoydaya} ‘(¢°0) asea] ad1yo ayesodsoo Bulpsesas |JeApr] “4 YM aoduepuodsa.07

syesjuo)/sesea]
jo uondafay
Q UONdUNssY

sold

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IW yraqesi|3 ‘uez}13 UO,

0202/TT/6

 

(€°0) uoneindys

Suvesy ayes Suipseseu sated Suijefqo pue Japuay ayy yyIM adUapuodsa.uod ‘(7°9)
uonejndiys Sulpsesai sean] “4) YM aduapuodsaod {(p"9) BueaY ayes Usnofpe 0}
uonejndiys yep ‘(Z7°9) Sueay ajes Buipsesai 19}s04 “s|~j YIM BdUaJaJUOD aUOYdajay

uolisodsig Jassy

TENG

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WW yieqesiy ‘uazi1y UA

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syodai Sujesado AjyjUOW Jo snjejs BulpseSas y9a1D YOY 0} BdUapUodsa|0D

 

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(90) @wes Bulpiesai jazHaN} —syoesjU0D/seseo] Scxg| OO'SS’S |3°0 00'V9ES W Yragesi|y “uaz UOA10Z02/TZ/6
pue |jeApr] ‘sussayj] YIM edUapuodse.Od pue sjuaWpUAaLe asea] SNOLEA asiAas pue Jo uonafay
MAINA {(Z7°0) BSe3] B1JO 3}e1OdJ09 Mau Bulpsesas [JEAP!] “UIA| YIM adUapUodsauo7 3g uoNdunssy
(Z°0) Jepso ajes pasodoid| = —uoy!sodsiq Jassy TING] OO'SSS |8'T 00°6T8S W Yiegesi| ‘uaz UOA|07Z0Z/TZ/6
Sulpsegas SEIN] “JW YUM aduasajuod aUOUdaIa} “(¢°Q) Japso ayes ul sUOISIAOId
asuadl| sonbi Suipsesai sOJUeD “sj YIM 9dUdIajJUOD ‘(7'9) JaPIO ayes pasodoid
Suipsegas Seon] “JIA. YIM adUapUOdsa.oOd ‘(6'0) JapsO ayes pasodojd mainay
sjustupusawe}] —syesjU0D/saseaq Sed] 00°SS~S |Z°0 OS'STES W Yiegesi|z ‘uaz UOA}0707Z/02/6
ase] BUIPseSas ULJON PU “JaZ}AN ‘|JEAP!] ‘sussa) YIM BdUaJEyUOD aUOYdala, Jo uonpalay
Q uOIdwNssy
(€0) Uoduinsse asea] Sulpuesau Yale] — syoesjuoD/seseay Sea] OO'SSVS [6°72 OS'6TE'TS W yiegesi|3 ‘Uazi13 UOA|07Z0Z/8T/6
“IN YM a2uasaju0d auOYdala} ‘(¢°Q) ssad0id UO!Iafas pue UONdUNsse ye1}U0D jo uopafay
Asoyndexe Suipsegas |jeApry “UIA YIM BdUapUodsa.io0d ‘(¢°Q) UaTOYs 0} UONOW 3g uUOdwNssy
pue sasea| afaJ JO aWINsse 0} aWIY PUa}Xa 0} JaPsO pue UO!}OW azijeuy ‘(T'0) asea}
juawdinba yoijaq jo uoNduwinsse Bulpiegas Aauaams “4 YIM aduapUuodsas0o
‘(Z°0) PesUOD AJONIaX~ 4e}SZIeIS BulpseBas |jeapry “4 YM adUapuodsa.ion ‘(7°0)
syuawpuawe asea] Sulpsesau |jeapl] “VWI YM adUapUOdsa0d {(¢°C) asea] ajddiy
peosg 0} JuUBWpUsWwe Jsuly aSIAas Pue Manas ‘(9°Q) sJUaWPUaWe asea| Buipuesos
SPOOM ‘S| Pue ‘URION Puke ‘JaZaN ‘WWEAPT] “sussay) YIM BoUdaJaJUOD BUOYdalaL
(T°) Juawajeys aaj PYZSq Bulpsesos seonq suonediddy 9TNG| OO'SSVS [LZ 0S°872'TS W Yyagesi|3 ‘UaZzyZ UOA|0707/8T/6
“JIN YIM aduapuodsaod ‘(T°Q) JUBWA}eIs da} $,y90ID YOY BulpseBas suaAy Uj] UaWAO;dwWy/ae4
YUM aduapuodsaod ‘(¢°Z) Seay IsNEny 410j Jaayspeasds aaj pue JUaWA}els aa} YeIG
Ayadoud suiuiofpe|uojesysiuimpy ase} €TNa| OO'SS~S JE OS'9ETS W Yregesi|9 “U9Z119 UOA10Z07/8T/6
$0 ayes jeiljuajod pue jUuaWwasea e]ja}¢ Sulpsea |jeApr] “J YIM adUapuodsas0D
(v0) Swes 10} Jaayspeaids 33a;dWOd pue yafas 0} $}9e1}U09 syes}U0)/sasea] S@d] OO'SSS §=[9'7 00°€60‘7S W yyeqgesi|y ‘Uaz}19 UOA|OZOZ/ZT/6

Auoyndaxe [euoMppe Bulpsegai |eapry “Aj YIM BdUapuodsaod ‘(7°Q) sasea|
BUlj}]9g JSeZ pue ejjaI¢ Sulpuesa |Jeapr] pue [aZ}aN “ssssaj\j 0} BdUapUOdsasOD
‘(Z°0) Qwes Sulpseas jaZHWaN “UW YUM adUapUOdsa.sOD pue JUaUpUaLe

asea] U[OIU!T] O} SUOISIA[ MAIAaI {(T"Q) aSea] JUaWdINb~a }osjaq Bulpsesas

Aauaams “4A yum adUapUucdsaOd ‘(7°Q) asea] JUaLUdINba oag Sulpsedas jazZaN
pue |JeApry “sussay] YUM SdUapuodsaiod ‘(Z°9)WIOd"sajNnpayIsS}OH 404 and Buipsesas
sean] “JIA pue [Jeapry “IA| YUM adUapUOodsauod ‘(7'9) asea| ajddiy peosg Bulpsesas
JOZ}EN pue |Jeapry ‘sussayy YIM adUapUOodsaOd ‘(T'Q) Jsenbas Bueay payipadxe
Sulpsesas jadwid “sj pue asey 1) YM aduapuodsa.sod ‘(¢°Q) saseay AUadoid
Je2 pauidxaun auunsse JO Wales 0} aI} pua}xa 0} UONOW UO SuLeay ayipedxa 0}
uol}OlW YeJsp ‘(O°T) sasea AWadoud jee pauidxeun aunsse 10 alas 0} BWI} pua]xa
0} uONOW Yep ‘(T°O) sasea; Aadoud yeas pasidxaun awinsseso pales 0} Buy
puazxe 0} UONOW Sulpsesas sean] “J YM adUapUOdsaJod ‘(7'0) s}UapUaWwe
asea| Sulpsedau |JEAPr] “4A YUM adUapUOdsaOD ‘(7°T) aes BuIpsesau |jeApr]

“JIN YUM aduapuodsasi02 pue adeds 20140 a}e10d 109 404 asea] asIAas pue MaIAay

 

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ajes pue Wd pepuawe jo Buljly JO 9d1}0U aSIAaJ PUe MaiAas‘(Z7°9) Sueay ayes jo
yoddns ul suoiesejap Matas ‘(7'Q) JaPsJO ajes pue Wd Ppapuawe Jo Buljl} Jo adN0U
Sulpsegzas [JaSOy “AJ YUM Vduasajuod aUOYdaja} ‘(T"0) Bueay ayes ye auepuaye
SuUIpsedas YISI9H “JA] PU 49A1D YOY YM BdUapUOdsaOD ‘(7°9) Bue|Y

ayes ye B.DuepuAaPe JO]Gep Bulpuesas LINOD YUM adUapUOdsaOD ‘(¢°9) BSUeDY

ales Suipsesas OIBBeyy “A) YIM BdUdJajUOD aUOYda|a} ‘(T°9) Sueay ajes Buipsesas
JEAPH “AIA YM aduapuodsauod ‘(Q°T) Sueay ayes JO} epuase Buljjeip anuijuoD

uolsodsig Jassy

TUNG

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(T'0) JUewWpUaUWe aseda] WOJJ9q Sulpsesa. jaZWaN “IV 0} BUapUOdsa|IOD

‘(€°0) JuawpuswWe asea] WO1}aq asiAas ‘(T'Q) BND POsjJaq Bulpsesas jazyaNy

“AIA YUM aduapUodsaod ‘(9°Q) BuLWeaY ajes 10} Sanssi UO!Dafas pue UOIWduwNsse
Sulpuegas jaduid pue ‘uimpyjeg ‘||eAP!] “ssssayj YUM aduUasajuoo auOYdasay ‘(¢°Q)
$ye41}U09 AJOyNIex—a Sulpseas |JEApr] “AIA YM adUapuodsa.od ‘(7'Q) sasea] pala
0} uO!}OW SNqiuWO YUNOJ JOJ JapsO asiAai ‘(7°Q) Sasea| alas 0] UOIOW snqiuWO
YUNO} Sulpsesas Japso Buipsesas 1a}S04 “Sj YM BouasajUu0d auOYda|a} ‘(7’0)
jUaWIPUBWe ssea| PUe 81ND UjODUT] BulpseBas SuIAa|G “UIA| YUM adUapUOdsaO7D

syesjuoD/sasea]
jo uondafay
9g UOdWNssy

Sexe

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00°Z60'TS

W Yiegesijy ‘Uaz19 UO)

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uoleoidde aaj jeuly Suipsesas yIsiay “J YIM BdUaJayUuod auOYdajay

suoienjddy
quawAojdw3/ae4

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W Yjegesi}y ‘uaz}y UO;

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(€°0) Suey ajes

JO} epuage Zunjesp ulsaq ‘(7°Q) awes Bulpuesai seonq “ulAj YIM BdUapUodsasoo pue
Japso ajes pasodoud pasiaas MaiAad ‘(7°Q) JUBWaaIe aseyond Yasse 104 sua}eW
uo!eSI}!| JO sNjeys Suipsesau |JeApr] pue jaZaN “Sussa|A] YM adUapuodsaOD

uolsodsig jessy

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W yjegesi|y ‘uaz}q UO,

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(v'0) UONDafas jeNUAIOd 10} sJUaWa|IZe

quawAojdwa mained ‘(¢°9) sasea| YOOH pue oozeweyey Bulpsegas jjeapry

pue jazaN “‘Sussayy] YIM adUapUodsaiOd {(T'Q) UONDafas asea] UOWUIXa] Bulpsesas
YISJAH pue SeIN} “sussa\) YUM adUapUOdsaOD ‘(7°9) sJUaWPUaWe asea] BuIpuesas
J®ZHEN “JW 4M aduUapUodsaOd ‘(¢°Q) Jeayspeaids UONdwNsse SulpseZai |jeapr]
IA YIM aduapuodsaod ‘(7°Q) $39e4]U09 AJOyNIax—a jo UONdUINSse Sulpsesas |JeAPI]
UIA, YIM aduUaJajuod auoYydaja} ‘(¢°T) Sueay ayes 10) Jaayspeads uoNdunsse yeug

 

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g uOIdWuNssy

 

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(Z°0) uoNdefes asea) Sulpsesas psojpue] UOYSu!xa] 0} adUapuodsaio9[ ~—$}9e1]U0D/sasedy Seyg| OO'SSPS [LT OS'EZLS W Yiegesi|y ‘UezH13 UOA10Z07/62/6
‘(T°0) Uonow Sulpsesa. |jeapr] “sW) ym adUapUOdsa.od {(¢°9) alas 0} $39eI]U0D jo uonsaf[ay
Sulpsesai [AZHON PUe |JEAP!] ‘sussa|A] YIM BdUaIEejUOD BUOYdaja} ‘(6°0) sasea| 99 UONduuNssy
pasidxaun pue sjoesjuoo Aiojndaxa pafas 0} UONOW snqiuwo YyYY SuNsesp anuyUO?
(Z°0) asea] Jay Bulpsedai |Jeapr] pue jazHaN “sussay| YUM] —_-$JDesUOD/saseaq Sea] OO'SSS jvT 00°200‘7S W yiogesi|y “UaZ}13 UOA|0707/87/6
a2uUapuodsa.uod ‘(7°Q) saseaj jo uoNduunsse Sulpsesas seony “Aj YIM BdUaIajUOD $0 uolpeafay
auoydala} ‘(9°T) sjuswpuawe asea] SuipseSai |jeapr] pue “jazHan ‘Ue|ON “sussay| 7B UONdUNssy
YUM 99U943jU09 BUOYda|a} ‘(7°C) eles 0} sasea] pue s}9es]U09 jeUONIppe Sulpsesas
IIEAPH] pue [eZHEN ‘Sussa~j 0} BUaPUOdsaOD ‘(7'9) Saseay pafas/auNsse 0}
SWI} JO UOISUa}X9 SulpseSas Japso asiaas ‘(Q°Z) UONOW UOIPAf{as snqiuWO YYY Yes
(TO) 3@3pngq Umop-pulM JO saQy Jo ayeWNSa| = UOISOdsiq Jessy TING] 00'SS7$ 12'0 OS'8TES W yiegesi| ‘Uaz}13 UOA10Z07/82/6
Sulpsedai [@ZUAN “AIA YIM BdUapUOodsa.uOd ‘(T‘Q) Suey ajes pausnolpe BuipueSas
HIM JIA) 0} BDUapUOdsasOD ‘(T"O) Wd 40} SNJeIs UOIVeSIZ] SulpueFas adaid IW
YUM aouapuodsasod <(T'O) Vdlv 404 Sule}9 (6)(q)EOS pally Suipsesas aouaig “sy YUM
aouapuodsasod ‘(€°9) UONeIpaw Suipsesai sean] Uj YM asouasiajuoo auoYdajal
(€°0) Sueay ayes peusnolpe puaye ‘(7°Z) Sueay ajespuaye| — uonsodsiq jassy TING] OO'SSHS {Z'E 00°9St'TS W Yregesijy “U98Z717 UOA10Z707/SZ/6
*(Z°0) 42980 Pafosg YUM UONNIOSaJ SulpueBai suiAag “JIA YIM BdUaIajUOD aUOYdajay
“(TQ) Sueay ayes SuipseSou jeapry ‘I YIM aoUasaju0d aUOYdala} ‘(p'0) Sueay
ayes pue ‘snjeys oind ‘epuage Suipsegas sean] “jj YIM adUaJajUu0d aUOYdalay
(€°Q) UoIDa[qo a4nd jo UONNJOSaJ BuIpsesas SYM “JIA] YM BDUapUodsal0d syesjuo)/sasea] Gea] OO'SS’S [60 0S'677'7$ W yyeqgesijy ‘uez119 UOA|0Z0Z/72/6

‘(Z'0) 4apso ayes ulasuadi) Jonby soquy UU 0} pazejai UOISIAOId SuIpseau |jasoy
“IA YUM aduapuodsaod (¢'T) awes ZulpseSas adUapUOdsa.OD pue ajnpayos
uonduinsse aseaj pue yesjUOd Ayojndaxa Bulyesp anuljuod ‘(¢°Q) awes SulpseSas
J2ZH98N “AW YUM aouapuodsesoo pue JUaWUIPUdWe asea] S,e]/2}S 0} SUOISIAAL
pasodoid s,psojpue| mainas ‘(¢'Q) Sanssi uoNduinsse pue aind BulpseZau |jasoy pue
sen] “sussay] YM eduapuodsaod ‘(¢°Q) UOIdUUNsse asea| pue yeJ}UOD AJOINIAaXa
JO snjejs Sulpsedau |JEAp!] pue jazpay ‘sussaiAj YIM B2UapUOodsaJod ‘(T"¢9) auuNsse
0} s}9e4}U0D A10yNIax~a BulpseSas Bdslad “JI YUM BUapuodsaod {(T°Q) suaqud
Sulpsesa. |jeAp!] “AWW YIM adUapUOdsa.od ‘(7°Q) sJ9e41JUOD AJOINIaXxa Mau SulpueSas
[l2SOY AIA) YUM BdUapuodsaoOs; ‘(T°9) suoIafqo and BuIpseSai |jasoy “sy YM
souapuodsaisod ‘(T°9) uoNDafgo aund Buipue3as dospsem “UA YIM BdUaepUOodsa.O0d
‘(€°0) Seino asea] Jo snjejs BulpseSas jazZWAN “UA] YM BdUasajyUOI aUOYda|a} ‘(T'0)
uolqe[qo aind jo UONNJOSaJ pasodosd Suipsesas Jays “JA YIM adUapuodsai0D
‘(Z°0) UoNDafqo aind Buipsesas Jays “4 YIM BdUaIajUOD BUOYda]Aa} ‘(T'0)
suolqalqo aind Sulpsesai sean] “4jAj YUM aduaJajUOI aUOYdal—a} ‘(/°9) UONduuNsse
yoes}U09 A1ojnIaxa puke asea] SuipseBas |eAP!I] UIA) YIM BdUaJajUOD aUOYdajal

 

jo uolafay
7g uONdUWNssy

 

 

 

 

 

 

 

 
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SyusWpusWe a7e3sq |eoy zwENa| OO'097S 1770 00°@SS W eipuexayy ‘spooM|0707/S7Z/6
asea| Sulpsesai [eA] pue UeJON “Sussa|Aj PUe UdZ}A UOA “SIA WO sea MalAay
(TO) suoisinas 93e}sq jeoy Zeng] OO'09ZS }z°0 00°zss W espuexayy ‘spoom|0Z07Z/r7/6
juawpuawe Sulpsesa udzyy UOA “SJ PUR [@ZAN “4|Aj WOJJ BDUaPUOdsa.OD
Maihad ‘(T"Q) JuawUpUaWe JgYyd Bulpsesai Ue|ON “WII YIM puodsa.0)
syunowe and pue Jualupuawe }104398q Sulpsesas udZ19 UO “S|A] YIM puodsas07 a7ej}sq jeoy TENG] OO'09ZS {70 00°7S$ W espuexayy ‘Spoom|0707/E7/6
(T‘0) sJuewpuawe asea| 93e3sq |POY cena] O0'097S TT 00°987$ W espuexaly ‘Spoom|0707/7Z/6
By} 0} sajzepdn snowen Sulpsedai |jeapr] pue ‘|azZ}aN ‘Ue|ON “sussay pue UAaz}19 UOA
“SIA| WOy BdDUapUOdsa0D MatAad ‘(7°0) sSJUaWIPUaWe SNOEA Jo snyeqs SulpseBas
UPJON “4A, YUM adUaJajUOD ‘(g°Q) JUBUIPUaWe BulsuUe] JSeq ASIA]I Pue MAIAaY
M@I!AB1 JO} UBJON “4|A] 0} puas pue JUaWUPUaWe osjaq-JeQdoH Yyeuq 97e4sq |eoy ZENG] OO'|O9ZS JET O0'8EES W espuexaly ‘Spoom|0Z0Z/TZ/6
(y'0) awes ay} Sulpsedas ue|ON ayeqsq jeay Zena] 00'09ZS = |9°T 00'9T”$ W espuexaly ‘spoom|0Z0Z/02/6
“AIA. Y}IM puodse0d pue jual|d Wo) sjUaWWWOD pue s}uaWpUaWe Sulpuejsino
MAIABI ‘(Z°T) MAIASI JO} URJON “Jj O} Puas pue JUdUPUALUe PUeI|OH asiAay
(Z°0) 2wes ay} Buipuedos UejON “4 YIM puodsaisod pue JusUpUdWe 93e3Ss9 Jeoy ZENG] OO'O9ZS {ZT OO'ZTES W espuexaly ‘SpooM|0Z07Z/6T/6
puesjoH MaiAad ‘(7'O) 2wes ay) Bulpseas uejON “JJ |!ewWa pue JUaWPUaWwe
JOqiy uu asiAad pue Matas ‘(9°Q) a1e;dwWa} JUBWIPUdWe Bulsue] Yseq Yeuq
(€°0) sJuswipusUe asea| 93e}sq jeoy 7TENG| 00'097ZS -|6'T 00'6v$S W espuexaly ‘spoom|0707/8T/6
$0 snjej}s Sulpsesas Ue|ON “4A| PU AZIZ UO “SJ YIM BdUaIaJUOD ‘(E°T) sJUaWIWOD
S,URJON “JIA YIM adUepsooIe U! JUaLUPUaWwe JOquy UU asiAal ‘(¢'9)s}UaWpUawe
asSea| SSNISIP O} JUAI|D puke “UdZ}IF UOA “S| ‘URION “JIA) UIIM adUaIajUOD
(€°T) wes ayi Suipsesas Ue|ON “4JA] YM puodsasod pue sajes ssoud ‘ual ayejsy jeay ZENG! OO'09ZS ={8T 00°89vS W espuexayy ‘Sspoom|0Z0Z/ZT/6
asejuaoiad ‘si00}J Juas Buipsesas adenBue] 10} spuaunsop Wo} Maina {(G‘Q) JUaI
JO} S}UaLUpUaWe asea] Suipsesas UEION “4 PUB UDZ}Z UOA ‘SJ WO. sjleLa MalAay
(Z°0) MalAad JO} azeysq jeay zena] 00°097$ 60 OO'vEZS W eipuexaly ‘spoom|0Z07/9T/6
UaZ}1q UOA “S| 0} JUBUIPUae pasiAal puas ‘(/°Q) S}UBWWOOD SIY YIM adUeps0D0e
Ul BSIAad puke JUaWIPUaWe pUeT|OH JeDdOH BulpseBas Ue[ON “J YIM BdUdIaJUOD
(3'0) 93e3sq Je9y ZENG] OO'O9TS |Z T OO'7TES W espuexayy ‘spoom]|0Z07/ST/6
sjualupuawe asea] S,e{j91S pue ‘auljjjag JeDdOH ‘puesjoH 3eDdOH asiAa pue MalAas
‘(Z°Q) auies 84} 0} puas pue adIaWWOD GS Bulpsesai aseay |jnd “(7°9)aouawWOD
6S Sulpsegau sijnipuy pue UejON ‘sussay) pue UAZ}A UOA ‘sO. sje MalAaY
(Z°0) S,211935 0} payejas Juawases JOY Yoseas ‘(Q°E)MaIAaI JO} oyejsq jeay cena] O0'09ZS  IZE 00°ZE8S W espuexayy ‘SpooMm|07Z0Z/vT/6
UdZ}Z UOA ‘S|\] 0} puds puke S}JUaUpUaWe aul)jjag JeDdOYH pue puejoH yeDdoH Yeuq
awes a4} Bulpsesais} —s39e1]U0D/sasea] Sz8] 00'09ZS {80 00°80z$ W espuexaly ‘spoom|0Z07/0T/6
UdZHA UO ‘SIN, YIM puodseJOd pue S,e|/a1¢ 10} JUaLUaaIZe JUaI BUIYyeIp UIdag jo uolpafay
9 uOI]duNssy
©8s 0S°97S‘97$ WLOL
(T°T) JUawWpuawe aseaj pueljOH asine. ‘(9°T) SJuaUIpUaWe! — sDeIJUOD/saseay S7na| OO'SSPS | LZ 0S'8Z2'TS W yiegesi|3 “uez19 UOA|0Z0Z/0E/6
asea| SuIpPsJeSas UCJON PUR ‘JAZPAN ‘|[EAPI] “SuSsa] YIM |dUaIaJU0I aUOYdajay jo uoNDafay

 

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LST 00°280‘r$ WLOL
asea| BdYjO ayesOd4o9 Aj4jieg Suipsesai uIZjW UO, “sj YIM adUapUOdsas0OD 93e}Sq jeay ZENG] OO'09ZS {TO 00°97$ W eipuexaly ‘SpooMm|0Z07Z/8Z/6

 

 

 

 

 

 

 

 

 
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suoipalqo aund
Sulpsesas Suleay Buluinolpe Suipsesas adiasas Jo yooud asedaig

uolpsodsiq jassy

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A ouer ‘DjsWapOrIN

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(€°0) uonejndiys Suipsesai

(MLD 404 JasuNOd) jalsids a) YM adUaJajuOI aUOYdayay

‘(Z7'0) @wes Bulpsesas spsojpue| 10} jasuNOD 0} adUapUodsa.O2
‘(€°Q) suolIa[qo a2ueINSse ayenbape ajesodsoou! 0} UOe|NdNs
asiAad ‘(Z7°Q) ssulueay adueunsse ayenbape ayesodsoou!

0} Suueay usnolpe 0} uonejndiys Suipsesai 1a3s04 “sj

YUM 9dUG19jU0I aUOYdasa} ‘(7°0) 1@8pNnq UMOP-pUIM JO} Saa4
Sulpsesa jaZUaN “JIA YUM adUapUOdsaOd ‘(['Q) aaUepuaye
32USJBJUOD SNje}s Sulpsesas yoy “sj YUM BdUapuodsasOD
‘(Z'Q) BDUSIaJUOD snjzejs Bulpyesad jaZ}IaN pue seonq

“SASSO\] YIM BIUaPUOdSa.IOD ‘(T'CQ) Bulseay ayes Jo JuaWUINO[pe
pue unowe and Suipsesas aq “JIA) YM adUapuodsai09
‘(Z°0) Suueay ajes usnolpe 0} uapso pue uoNeEindis asiaay

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(T'0)
pajlj Japso pue uonejndiys Sulpsegas Nod YUM jjed auoYydajaz
‘(€°0) sSueay usnolpe 0} Japso pue uoljejndiys ayajduio07

uolsodsiq jassy

TONg

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v0

00°92S

“A 9UeT “P}SWAPOHIN

0202/vT/6

 

(€°Q) uonejndis 3ueay ayes

Sulpsegai samued 8unsalqo pue Japuay] ay} ym aduapuodsa.02
‘(Z°0) uone;ndis Suipsesas seonq “UIA) YM adUapuodsaod
‘(v°0) Sueay ayes usnolpe 0} uoljejndiys yeup ‘(7°0)

Sueay aes Buipsesas J9}S04 “SJ YUM adUa1ajUOd BUOYdayay

uolusodsig jessy

TONd

00°SSt$

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IN yagesi|g ‘uazz1g UO,

0202/TT/6

 

(€°Q) SUs9DUOD 1S Bulpuesas seony “4 YUM BdUapuodsa0d
:(S°0) Wd 02 suondal[go pue Suleay ajes Sulpuesauolsseyy “WJ
YUM aduasajuOI aUOYdaja} ‘(¢€°9) J@3pNq UMOP-pUIM JO} Saa4
Sulpsesai |aZUON “JI YUM BdUapUOdsaJOD {(T'Q) Suleay ayes
Buipsesai Sed] “JA YUM adUasajU0D BUOYda|a} {(T'9) Sueay
aes Jo snjeys Sulpsesas dospuem ‘IA YIM adUapuodsai0D

uoljsodsig Jassy

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W yiagesi|y ‘uazy UOA

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NOILISOdSIGC Lassv

 

 

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4IdGOD ASWL Ad AUVINIAINS SINIL

 
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(¢°0) Japso ayes pue

VdV¥ papuatwe jo Bully Jo ad11}0U asiAa’ pue MaiAads‘(7'9) Bueay
ajes Jo Woddns ul suonesejyap MaiAai {(7'Q) JapsO ayes pue WdV
papuawe jo Bully JO ad!j0U Sulpsesai jjasoy “UjAj YM BdUaIajJUOD
auoydaja ‘(T'O) Sueay ayes ye aduUepUAae Buipsesas

YISJ9H “JIA) Pue JBOD YIOY YUM BdUapUOdsaIOD ‘(7°9) SueaY
ajes Je BQuepu|je JOIGap Sulpsesas NOD YUM adUapUOdsaOD
‘(€°0) Sueay ayes Suipsesay o1sBeyy “AI\) YM aduasajU0d
auoydayjay ‘(T'O) Sueay ayes Bulpuegas |eapr] “UA uM
a2uapuodsaod ‘(Q'T) Suleay ayes 10oj epuase 8uinjeup anuijuoD

uolsodsiq Jessy

TDG

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OO'EST'TS

WW Ujegesify ‘uaz}y UOA

0202/vz/6

 

(ZO) Qwes Sulpsesas uaz}19 UOA ‘SJ YIM BdUapUOdsaOD
‘(v'T) suoidalgo ayes aayIWWOD pue [SN ‘UOIJOW ayes MalAaY

uolsodsiq Jessy

TDNd

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*g uaydays ‘mou

0202/v2/6

 

(€°0) Sueay

ajes JO} epuase Sulyeip ulgaq ‘(7°9) Wes Bulpse3a4 seonq “I
YUM aduapuodsaod puke Japso ayes pasodoid pasinas MalAas
‘(Z°0) JuaWaaiZe aseYyoind jasse JO} suVWeW UO!}eSIY] JO snyeys
Sulpsedsas |JeAP!] pue [aZON “SuSSa|| YUM adUapUOdsaIOD

uolsodsiq jassy

TD

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0S'600$

W yyeqesiy ‘uaz11g UOA

0202/€z/6

 

02/S7/6
uo BuLeay Joy pajnpayos suayew Jo epuage jo ao!}0u UO YOM

uolzsodsiq jessy

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00°06TS

00°06TS

“A JoUeF ‘PiSWaPOXIN

0202/€2/6

 

(Z°0) 4apso

ayes pasodoid Suipsesas sean] “sIA\) UUM |dUaIaJUOD BUDYdaja}
‘(S°Q0) 4apsO ayes ul SUOISIAOId asUAadI] JONI] Suipsesas sojueD
“SIA| YUM BdUaIAjUOD /(7°Q) JaPO ayes pasodoud Buipsesai sean]
“A Yum aduapuodsaod ‘(6°0) Japso ayes pasodoud mainay

uolisodsig jassy

TINg

00'Sssvs

00°6T8$

W Yyieqgesi|y ‘uazzyy UO/A

0202Z/T2z/6

 

(9°Q) Suolsinas Yyons yo Auewuuns

auedaud ‘(¢€°Q) awes 0} sUOISIASs Buedaid ‘awes 0} ~adsau
YUM JapsO UNOD Mathai ‘(¢°Q) 4@PsO NOD 0} JUeNsNd sasuad||
Jonbjj Jo sajsues) Suipse8as UdZHA UOA ‘SIA| YUM BdUdIajU0D

uolsodsiq jessy

TTNd

00°Sors

00°29S$

"y Aja “sojuez

0202/TZ/6

 

 

awes Sulpseses aduapuodsas0d
pue uoljone jo uolesjadued Suipsesas ao1jOu asiAas pue MaIAaY

 

uolsodsig yassy

 

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SNOILD3fdO/NOILVULSININIGY SII

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6T OS'798S WLOL
Ayadoud Buulolpe jo ayes jenuajod uo!eJysIUlLUpY €TNa| OO'SS7S |E0 OS°9ETS W yreqesiy ‘uaz UOA!0Z0Z/8T/6
pue JUaWasea e]/8}S Sulpsesai |JeAPI] “UIA UM adUapUOdsai0O7D ase)
(T'0) ewes Sulpsesas asey “uJ YIM aduasajUOD uol}ejjs!ULUpYy €TNG] OO'SSPS |9'0 | OO'ELZS W yyagesify ‘uazi1y UOA!0Z0Z/vT/6
auoydaja ‘(T°O) awes Buipyesa avey “Aj YIM adUapUodsasoD ase)
:(Z°Q) Ques Sulpyesas seonq “sy YUM |ouUaJajUOD BUuOYdala}
-(Z°0) Suipuejys aAeAap Suipsesas uolejndiys mainay
(v°0) Bwes Sulpsesau sjiewa pue uoljijad Aueyunjo,, uolesjsiulUpY €TNal OO'SSvS IT 00°SStvs W auuezoy ‘eqUNID|0Z0Z/T/6
D>» peindas ‘(9°Q) sanssi suelo Sulpsesas spewua ;esdAVS ases)
NOILVYLSININGY 3SVD
c0 00°8ES WLOl
owes suol}e13dQ Z7TNG| OO'O6TS |7°0 00'8ES "y Ajsaquuly “Bul|q9IN|0Z0Z/62/6
Sulpsesas Jaly ned “sj 0} BQUapUuodsaJOD ‘ayep anp asf jo ssauisng
JUBWA}e}s JayYIOP pue aseqejep yseWape} ayepdn ‘uonedjdde
JACWAPEII SAYA MOVED YUM UO!NIBUUOD U! Bd1JjO 4eWapel]
pue JuUajzeg $8}23S pawUs WOs ddUeMO]|V JO BDIION MAaIAaY
SNOILVY4dO SSANISNG
L8T | oS'80€‘s$ WLOL
(T'O)| uontsodsiq jessy TENG] OO'SS7S |Z0 | OS'STES W Uzeqesi|3 ‘UaZ19 UOA|0Z07/8Z/6
JeSpng UMOP-puIM JOJ SaajJ JO aJeWIAS| Bulpyesa [aZHaN “JIA
YUM asduapuodsa.sod ‘(T'9) Sulueay ayes pausnolpe Buipuesgai
SHIM “IAI 0} BDUapuodsaOd ‘(T'Q) Vd 40} sNjeys UOe3II]
Sulpsesas 8dJald ‘UIA YUM adUaPUOdSaIOD {(T'0) VdV JO}
suule[d (6)(Q)E0S pally Sulpsesas adiaid “UI YM aDUapUOodsaoD
‘(€°0) UONeIpaw Bulpsesas sean] UIA) YUM adUaJajUOD aUOYdaja)
(€°0) Suueay ajes pausnofpe puaye ‘(7°z) Suueay ajespuaye} uolnssodsig jessy TENG] OO'SS~S § [Z'E 00°9St‘TS W yieqesi|z ‘Uazu19 UOA|0Z0Z/SZ/6

(ZO) 42980 Waloig YUM UONNJOSas BulpseBas sulAag “Uy

YUM adUaI9JUOI BUOYda}a} “(T°O) Sueay ajes Bulpsesai |jeapr]
“IA YUM adUasajuod aUOYdala} ‘(7°O) Sueay ajes pue ‘snjeys
and ‘epuage sulpuesa seonq “sIA\) YUM adUaIaJUOI aUOYdalay

 

 

 

 

 

 

 

 

 
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(Z°0) sanss! and SuipseBai jazyaN pue} sydesU0D/saseay S7a] OO'SS~S = {70 00°78TS W yregesi|3 ‘UaZz113 UOA!0Z0Z/Z/6
JJEAPI] “Sussaj YM adUapUOdsaiod ‘(7°9) asea] ad1YJo ayesOdso0D jo uondalay
SUIPsJeSad |9ZUSN PUe |JEAP!] “SASSI YIM adUapUodsa.oO7 9 UOIdUINSsY
asea| juawudinba) sjse1}Uu0D/saseaq Scag] OO'SSt~S EO OS'9ETS W Yieqgesi|3 ‘uaziy UOA!0Z0Z/T/6
Sulpsedoi |9ZWAN Pue |jeApry] “Sussa|~\j YUM adUapUodsaOD Jo uonoafay
9g UONduINssy
SLOVY.LNOD/S3ISW31 JO NOILDIf4y *8 NOILLdIAINSSV
TT | os‘00ss TWLOL
(v0) eusodqns uoie3iy] 8TNG| OO'SS~S |S'O | OS'Z7Z$ W Ureqesi|y ‘Uaz13 UOA}0Z0Z/LT/6
319N] “IS WO, Bulpyedsas Suleay puayje ‘([°Q) euaodqns
319N] “1S WO, Bulpsesai pjasunq “sj YM aduapuOodsao0D
uonesi!| vores] STNG] OO'SS7S |€0 | OS9ETS W yreqgesi|3 “Uazi13 UOA|0Z0Z/E/6
epluoj4 Suipsesas ypuesg “Aj YUM adUaIaJUOD BUOUda|aL
uoljesii| epuo|4 Zuipseses pueusag ‘S|\| YUM 8dUa13ajU0D uonesiy 8Tya| OO'SS’S = |E0 OS'9ETS WI Yzeqesi|z ‘UazyZ UOA|0Z707/Z/6
NOILVSILN
ve 00°LbS‘TS WLOL
uonesjdde suoleoiddy 9TNa| OO'SS~S JE0 OS'9ETS W yyegesi|y ‘uazuy UOA}0Z0Z/EZ/6
3d} jeUly BuIpsesas YISU9H “UIA] YM BdUaIajUOD aUOYdaja|| JUaWAO;dWwWz/ae4
(T°) UaWiaieys 834 PYZSd suoneoiddy 9TNG| OO'SS7S jL7Z OS'827Z'TS | W Yieqesi|a ‘uaziy UOA}0Z0Z/8T/6
Sulpiesas sean] “a ym aduapuodsaod ‘(T'Q) JUaWAajejs} JUatUAO|dWz/ae4
39 S,J9OID YIOY Buipsesas suady “4 YUM adUapUOdsasoo
-($°Z) Sda} Isn3ny 10} Jeayspeaids aaj pue JuaWAjeys aaj Yeuq
uoedi|dde aaj 10} ad10Au! JsnBny Mainay suonesiddy 9TNG| OO'SSS = |v'0 00°Z8TS W yiaqgesi|y ‘Uaz1y U0A!}0Z0Z/E/6
quawAo|dwiy/aa4
SNOILWOI1ddV LNIINAOTdIN3/444
v0 00°Z@8TS TWLOL
yaayspeaids sue|> SulpseSau sjlewa pue mainay suoioafqo vival oo'ssv$ |v'0 | O0'Z8TS W auuezoy ‘ejUuNID|0Z02/67/6
/ voresysiuiupy
swie|>

 

 

 

 

 

 

 

 

 
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sanss| asea] Sulpsesas Zr] YIM sjiewa pue saduasajuoD $yesJU0D/sasedy G@a] OO'SSPS =|7'0 00'Z8TS W eauuezoy ‘e1UNID|1070Z/TT/6
jo uolpalay
9g UOIdWNssy
(Z7'0) }JUaWpUaWe| s}De1]U0D/saseeq SCAG] OO'SSPS $= {7'7 OO'TOO’TS | W Yiegesi|3 ‘uaz113 UOA}OZ0Z/OT/6
asea] e]]21S Sulpuesa jaZUAN UIA) YUM adUapUodsaoD jo uolDafay
‘(Z7°0) awes Bulpsedas sean} ‘uj\] YM BadUapUOdsSaOD pue 99 UOIWdLUNSSY
Jeayspeaids uondafqo aund ayepdn ‘(9°¢9) ssad0id uolduunsse
pue aind Bulpiesas yuans3uoZ pue |jeAPI] “IA YUM B9Uas9aJU0d
auoydajal ‘(7°0) JuNOWe and Bulpsesas sajnpayos}oH
Aq pajly uondafgo mainas ‘(2°Q) Sasea| 40 $}9e1}U0D JO UO!}dUUNsse
pue uoldeafes Suipsesas [jeEApr] “4A YIM aDUapUodsa09
‘(T°0) suoidefqgo aund Bulpsesas seonq “4 YIM BdUapUodsao)
‘(Z7°0) SJuNOWe Bind Sulpsesas |jeapr] “IAI YUM aduapuodsaio0D
(T°0) 4apso ajajdwod ‘(¢°9) sasea; 0} UOIDa[aJ ply} 0} SUOIDalqo| syDe1]UOD/saseaT SZNG| OO'O6TS {S'0 00°S6$ "WW JeUeTP ‘1}SWAPOFIN|OZOZ/OT/6
OU JO UO!}edIJITI99 suedaud ‘(T°O) suOdaIqo 104 JaxD0p yOaYD Jo uonsafay
9g UOIWdUUNSSY
‘D398 ‘Sanss! asea) Suipsedas S9duasajUuOd pue sjiewy| syoe1j]U0D/sased) G7] OO'SS”S = 19'0 OO0'ELZS W auuezoy ‘e3UNID|0Z0Z/0T/6
Jo uolpafay
9g uoNduNssy
wes a4} Sulpsesal UdZW UOA “SI\J]_ SJe1UOD/saseay Szyg}| 00'09zS_ —{8'°0 00°807$ W espuexaly ‘spoom!0z0Z/0T/6
YUM puodsaisOd pue $,e]]9}S$ JOJ JUaWIaaIZe JU|I BuNjeup ulsag jo uonoafay
9g UONduNssy
(v'0)} syes3U0D/saseaq Seng] OO'SS7S |Z0 OS’8TES W yiegesi{y ‘uaz13 UOA|0Z07/6/6
$y9e4}U0D JO UONduuNsse pue ‘UO!afa ‘sjUNOWWe asNd Bulpedas jo uonoafay
JIEAPHT SIA) U3IM BDUSIajUOD aUOYda\—a} ‘(€°—9) AWes BUlpsesas 7g uoIdunssy
s}UasWaa18e pue 21nd Bulpsesas |[eAPI] “AW YUM adUapuodsa07D
eda JO UOHJeJOCJOD} $39es}U0D/saseay Gcxd| OO'SSVS |{Z'0 | OO'TES W yjegesi|y ‘Uaz119 UOA}0Z0Z/8/6

asd] JOJ BUl|Iy JON Bulpsesas aduaig “UW YM adUapUOodsa.0D

 

 

Jo uonoafay
2B UOIduNssy

 

 

 

 

 

 

 

 
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(T°Q) [eAoudde} sydes}u0D/saseay G@ya} OO'SSVS SE OO'6ZL‘TS | W Yiegesi|y ‘Uaz13 UOA]OZOZ/9T/6
JUaWIpUsWe asea] Sulpsedas sean] “AIA YUM adUapUOdsaOD $O uonoafay
‘(Z'0) asea] ujoour] Bulpsesau |jeapry ‘UI UM adUapUOdse.09 9 uONduNssy
‘(p'Q) Sasea] 0} sjUaLUpUdaWe BSuUlpse3as jaz}IaN pue
|IEApr] “sussaiA] YUM adUapUOCdsaOD ‘(T°Q) auljyYag Jseq 404 sind
Bulpse3ai [AZUAN pue |JeApr] “sussaiAj YM BdUapUOdsa.0d ‘(Q'T)
asea| auljjjag sey 0} JUsLUPUaWe asinas ‘(Q'T) aseaj puel]JOH
0} JUBWpUdWe asiAal ‘(Q'T) aSea] $,e]/83S 0} JUaLUPUae asiAay
(Z'0) s}uswipuawe aseaj] s}Ie1]U0D/saseay S@yg] OO'SSS {8'T 00°6T8$ W Yiegesi|y ‘U9Z719 UOA|OZ0Z/ST/6
Sulpsega. |JeAPr] pue [aZaN “sussa|Aj YM BdUapUodsa.od ‘(¢°0) jo uonafay
sasea| pue s}9es]UOD AONIAax—a JO UONdUINSse puke UO!DaIas  uoIdunssy
Sulpsesai ||eApry “JIA yum aouapuodsa.sod ‘(Q'T) JUaUpUae
asea| ujoour] asiAad pue MaiAad ‘(T'Q) Aadod ejjais Sulpsesas
Juawases jeluajod Suipsesai ||eAp!] “J YM adUapUodsaOD
(Z'0) and Sulsue] yseq Suipsedas jazjaN pue] sj9es3U0D/saseaq Sc] OO'SSVS {60 0S'600$ W Yiegesi|y ‘uazuy UOA|OZOZ/TT/6

‘seon] ‘|JEAp!] “sussa|A] YUM adUapuodsaOd ‘(7°9)3uLeay ayes
pue aind Sulsue7 jseq Sulpsesas aM “JIA) YUM BdUapUodsas09
-(Z°0) Sueay ayes yo UawWUNOfpe pue aund Bulsue]

seq Sulpsesas aM “JIA YUM aduasajU0d BUOYdaI—a} ‘(¢’Q) asea|
991JJO B}eJOdJOD Bulpsesas |JEapr] “UW YUM adUapuOdsaii07D

 

jo uoinpoafay
3 uoNduNssy

 

 

 

 

 

 

 

 
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(v'0) Qwes 10} JoaYyspeaids ayajdwod pue alas 0} s}oe1]U09
Asoqnoaxa jeuolippe 8ulpsegai |[eapry “JV YM adUapuodsao2
‘(Z'O) sasea] auljyjeag Ise pue ejjays Bulpsesau |jeapr] pue jazuaN
“SISSB|A] 0} BDUBPUOdSAIOD ‘(7°9) US BUIPIeESAI |aZUAN “IAI
yim aduspuodsaisOd pue JUdWPUaWe aseaj Uj[ODUT] 0} SUOISIAaJ
MalAas ‘(T°Q) aseaj JuaWinba j1013aq Bulpuesas AQUaaMS

“AI YM aduapuodsaiod {(7°9) asea] JuatudInba yoN8q
Sulpsesad |9ZUAN Pue |JeApr] “sussay| YUM BdUapUOdsaOD
‘(Z7'Q)WOd’sajnpayIsjoH 40} and Bulpsesas seonq ‘uy

pue |jeApry JIA] yyM aduapuodsa.od ‘(7°9) aseaj ajddiy peosg
SUIpPseSas |9ZUWON Pue |[EAP!y] “SISSA|| YUM aDUapUOdsaOD
‘(T’0) Jsenbas uleay paypadxa Suipsesau jadwig

AIA) pue a8eH “AI YM BdUaPUOdS—aIIOD ‘(G°Q) Saseay Aadoid
jea4 pasidxaun auunsse Jo alas 0} aw} pua}xa 0} UOOW

uo Buleay ayipadxa 0} uoNow yep ‘(Q'L) saseayj ALiadoud jeay
pasidxaun auwinsse Jo dafas 0} aw} pua}xXa 0} UOOW Yep ‘(T'O)
sasea| Aadoud jee, pasidxaun auinsseio alas 0} aw) pua}xa
0} UO}OW Bulpsedas sednq “sy YUM adUapUOdsa.Od ‘(7'0)
sjUaWpUale asea] Sulpsesas ||eApl] “Uy YM adUuapUodsaoOD
‘(Z’'T) Qwes Bulpsesas |jeApry “4A] YM BdUapUOdsaOD

pue adeds 391JJ0 a} e10d4109 104 asea] aSIA|d pue MAIAdY

 

syesU0D/sasea]
jo uolpafay
9g UOIIdUUNSsSY

 

Sod

 

00°SSv$

 

 

00°€60'7$

 

W yiegesi|y ‘uaz}y uo,

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(70) Uodafe. jeUAa}Od JO} sjUaWa—aIZe] s}De1]U0D/saseaq Scyg] OO'SSPS |e OO'LVS‘TS | W yieqesiy ‘uaz1y3 UOA|OZ0Z/7Z/6
juawAojdwia mata ‘(€°9) sasea] YODH pue oozeweyjey JO uoldafay
Sulpsegai |JeApr] pue [azpayN ‘sussayy] YM aouapuodsa.oOd ‘(T°0) 99 uOdUNssy
uolafas asea] UOIZUIXa] Bulpuesas YOSJaH pue seon] ‘sussaly
YUM aduapuodsaod ‘(7°C) sjuaWpPUawe asea] Bulpuesas
JOZHON “JIA YM BdUspUOdsea.I0D ‘(¢°Q) JaaYyspeaids UONdUINSse
Sulpsesas |JEAPI] “AIA YIM BdUapUodsa|soOd {(7°Q) s}DeUJUOT
Asoyndaxa jo uoNduunsse Sulpsesas |Jeapr] “JAI YM adUasajUu0d
auoydayjay ‘(¢*T) Suleay ayes 10j aayspeaids uoNduinsse yeiq
(9°0)} s}0e43U0D/sesee7 Sc} OO'SS7S = |8'0 O0'79ES W Yiegesi|y ‘uazuy UOA|0Z0Z/TZ/6
wes Sulpsesai [9ZWAN Pue |[eAp!] ‘sussa|\] YUM adUapUOodsaOd jo uolnoafay
pue sjuawpuawe asea| snoueA asinas pue MatAai {(Z7°Q) asea} Q UONduNssy
B2I1JJO }eOdIJOD Mau Bulpsesas |JEAP!l] “JAI YM BdUapUOdSaJ0D
sjuawipuawe aseaj Zulpsesai| sjoe13Uu0/sasea] Szxa] OO'SSr$ {20 | OS'’8TES WW yregesi|y ‘U9Zz313 UOA}0Z0Z/07/6
URJON pue “JAZUAN ‘|JEAP!] “Sussa] YUM adUaIaJUOD aUOYdaja) jo uolpafay
9g UONduNssy
(€°0) uoNduinsse} sjde1]U0D/saseay SZN8] OO'SSPS |6°Z OS'6TE'TS | W Yleqgesi|y ‘Uazu13 UOA|0Z0Z/8T/6

asea] Buipsesas Way “WWI YUM adUaJajuoOo auoYdayay ‘(¢‘0)
ssa20id uoldafes pue uolduunsse y9es}U09 AJojndaxa Sulpyesas
IJEAPIT “4A YIM BdUapUOdsaOD ‘(¢°Q) UBOYsS 0} UOIOW

pue sasea] yefes 10 AWNSSe 0} AI} PUdIXa 0} JaPsO pue UOHOW
SZEUL ‘(T°O) aseaj JuadiNba yo’jaq yo UONdUNsse Sulpuedau
AauaaMs ‘aI\| YUM aduapuodsaiod {(7'9) 39e1}U09 Auo1NIax~a
JeyS71e1S Suipsesas |[eapry “UA YM adUapuodsa.uod ‘(7°0)
sjuaWpUaWwe asea] Sulpsesas ||eAP!] “JA] YM adUapuodsa02d
‘(S°Q) asea] ajddiy peoig 02 JUaWpUawe Ysuyy asiAal

pue MalAad ‘(9°Q) SJUaWUIPUsWe asea] BUIPseZas SPOOM ‘S| PUL
‘UBJON PUB ‘JAZ}ON ‘|JEAPI] “Sussa|] YUM |dUaJajUOD aUOYdalaL

 

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(TO) JUawupuawe

asked] YOMAq Bulpsesay jeZPWaN “sj 0} BDUapUOdSA|IOD ‘(¢€°Q)
jUaWpUaWwe asea] HOJJEq ASIAaI ‘(T°O) Nd WOujaq Bulpsesas
J9ZUON “JIA YUM edUapUOdsaOd “(9°Q) SulWeay ajes 40} sanssi
uolqdefe4 pue uolduunsse Buipsesal jaduig pue ‘uimpyeg ‘JeApr
“SISSOIA] YUM BdUG19JUOD BUOYda]—a} ‘(¢°Q) $}9e4]UOD ANOjNIaXxa
Sulpsesai |JEAP!] “AW YUM adUapUodsaOd {(p'Q) sesea|

pafeas 0} uONOW SNqiuWO YUNOJ JOJ JaPsO asiAai ‘(7'Q) Sasea|
afer 0} UOIOW snqiuWO YUNOJ Bulpsesas Japso Bulpsesas
49}S04 “SIA YUM BdUaIajUOD BUOYdaj—a} ‘(7°9) JUaWPUaWe asea|
pue aind ujoour] Buipuesas sulAag “41\\) YIM aDUapUOdsAaOD

 

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(Z'0) asea] DGYD Bulpsesas |jeapr] pue jazHaN “sussajjy

YUM aduapuodsassod ‘(Z7°Q) saseaj Jo UONduuNsse Sulpsesas
Seon] “JIA YUM adUaJajUOd BUOYda|a} ‘(9°T) sJUaWIPUaLUe asea|
Sulpsesai |JeAP!l] pue ‘jaZHWaN ‘UCJON “sussay| YM BdUasajU0d
auoydajay ‘(Z7°0) 19afas 0} saseaj pue s}9es]UO0D jeUOINIppe
Sulpsesas |JEAPI] pue jazay “sussaj~j 0} adUapUOdsasod

‘(Z°0) sasea] yafas/awnsse 0} aw} Jo UOIsUa]xe SuIpsesas
Japso asiAad ‘(0°Z) UONOW UOIAfas SNqiUWWO YYIy Yes

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YUM aduapuodsaod /(Z7'Q) Japso ayes ulasuad|| sONbI JOoquy UUY
0} pazejas uOIsiIAOJd Bulpsesas Jasoy “sIA\| YUM adUapUodsa0d
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Sulpseda |9ZUAN “JIA YIM BdUapUodsaO9 pue JUaUpUaWe
BSBA] S,Lf[91S 0} SUOISIAD’ Pasodoid s,psojpue] MaiAal ‘(¢"0)
sanssi uolduunsse pue and Sulpsesas [jasoy pue seonq “sussay|
YUM adUapuUOodseassOd ‘(€°Q) UOIdUUNSse aseaj pue yDeI}U0D
Asoyndaxa JO snjejs BuipseBas |JEAp!] pue [aZAN ‘Ssssay\] YIM
a2uapuodsaod ‘(T°O) suuNnsse 0} $}9e1JUOD AJOINIAax~a Bulpsesas
BI19d “I YUM BdUaPUOdSAaOD ‘(T°Q) sudqUud Bulpuesas

JEAPI “IAW YM BdUapUOdsaOd {(7°Q) s}ae4JUOD AJOJNIAaXa Mau
Bulpseda. |Jasoy “AAJ YIM BdUapUOdsaod {(T°Q) suONVafqo aund
Sulpsesa. |jasoy “IW YUM aduapuodsaod {([°Q) uoIIafqo aind
Sulpsesos doupsem “JI YIM adUapUOdsaOD {(¢°Q) saind asea}
JO snjejs Sulpsesos [9ZUON “JWI YUM BoUaIajUOD BUOYdal—a} ‘(T'9)
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32U9J9jU0D BuOYdal—a} ‘(T°9) suOIIa[qo aund Bulpsesas seonq “IW
YUM adUa19jJU0D aUOYdaj—a} ‘(7°9) UONdLUNSse JOeIJUOD AJOYNIax~a
pue asea] Sulpsesas |jeapr] “aI YUM adUasajUOD aUOYdayay

 

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Auinbut saumo Aynba 0} asuodsa ajajdwioD sdayel pseog 87d] OO'SZSS {8'0 00°09S uaso7 ‘siNspuy|0ZOZ/T/6
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URJON pue “AZUAN ‘|JEAP!] “SussSa|] YUM |dUaIajJU0D aUOYdala] 2 uONduwNssy
sasea| elas] sye1jUu0D/saseay G7yG| OO'|OBTS EO | OO'ZSS "IN JoueT ‘LYSLWUAPOHIN|0Z0Z/0E/6
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9g UONduNssy
(Z°0)| syesQUOD/saseay S@NG] OO'SS~S {LT OS’ELLS W yjogesi|y ‘Uazi1y U0A}0Z0Z/62/6
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(TQ) uoNOW Bulpsesa. |jeApry “4IA) YUM adUapUOdsaOD 9 UOIdUNSsY
‘($°0) 19efe4 0} sjde1]UOD BuIpsesa jaZaN pue |JeAP!T “sussajy
YUM adUasaJUOD BUOYdA|—a} ‘(G°0) Sasea] pasidxaun pue sjoes}U0D
Ayoyndaxe 3afe4 0} UOI]OW snqiuWoO YY Bupeup anuuUoOD
(60) SJusWpuawe asea] 0} SadueyD S,psojpuey} s}Ies]UOD/saseay G7Nd] OO'O”SS J6'E 00'90T‘ZS f Waqoy ‘uejON|0Z0Z/8Z/6
Sulpsesai weal |2aq YUM [Jed JO JONpuOD pue Jo} asedaid Jo uolafay
‘(0°€) SJUaUPUaWe asea] 0} SUOISIAA S,p10j]pUe] Jo sisAjeuy 99 UONdUNssy

 

 

 

 

 

 

 

 

 

 
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(O'T) JUawpUuawe dulj}jag Jo UOesedaud ‘(Q°T) JUaWasUeLe
quad adejUadiad 10} JUsBWpUaWe a}e|dWa}/aAlsuayasdwod
jo uolesedaid ‘(g°9) JUaWpUaWe Jo SUA} S,e]]33S JO sisAjeuY

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(€°T) Swes ay} Suipsesas uejON “UJ YUM puodsao9

pue sajes ssoud ‘Juas adejUaoad ‘ssoo]j Judas Bulpsesas adensue|
JO} SJUBSLUNIOP WO} MAIASI ‘(G°Q) JUBJ 404 SJUBLUPUAaLUe asea|
Sulpsedas Ue|ON “JJ PU UdZ}J UOA “S| WO. S]IeEWa MaIAay

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0} aAlje|a4 Saseay jo sisAjeue ‘(Q°T) pueyjOH pue ujoodur] 404
sjusWpUaWe aseaj pasodo.d 0} SUOISIAa JO MAIAaI puke BAI|I9Y

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(Z°0) MAIAaJ OJ USZUZ UOA *S|A] 0} JUBLUIPUaWE pasiAas puas
‘(£°0) SJUaWUWOD SIY YIM adUepsod0e Ul aSIAaJ pue JUaLUpUawe
puejjOH eDdoH Bulpsesas UejON “I YUM adUaIajUOD

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(Z'0) s}uawNdOp aseaq puke JUaWasey jedOIdIDay Jo UOHese;IaG
SPIAOJC 0} UdZUIUOA “SJ YIM BdUaPUOdSaOD |IeEWA

‘(Z'0) eSeuepy! ul ajqejieae uoIeyUaLUNIOp YdIeasad (Z7°0) ITI
‘BUIP[ING BD4aWIWOD GF WO} DT] ‘Bulpying addawiwoy EG WO}
juawasea Sulpseses UdZIJ UOA “S| YUM SedUapUOdsaOD jew

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6S Pue €G BdJaWIWOD BUIpsedai Sanssi JO MaIAaI puke dAIaIaY

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6S Bulpsesas aseay jjnd ‘(z7"9)adsaWWOD 6S Bulpsesai sIjnupuy
pue URION ‘Sussai] pue UdZIIZ UOA “Sy WO. S]IeWa MaIAaYy

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pue sjuaupuawe auljjjag JedOH pue pueyjoH yeDdoH Yesq

 

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(€°0) sJuawpuaWY Jo

snjeys Suipsega jaZWaN [Ned YUM |je9 aUOYdaja} ‘(Q°T) Bursueq
yseJ 0} SUOISIAZJ JO UOeJedaud ‘(¢°Q) SJUaWIPUaWY Jo snje1s
Sulpsegas weal jeaq yim aouapuodsaiod pue sjjeo auoydajay

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(T'0) sJuawpuawe

9Sea| 34} 0} Sayepdn snowed Sulpsesas |JeApPr] pue ‘jazZUaN
‘URJON “SUSSa|A] PUL U9Z]IZ UOA “SIA WO1} BDUaPUOdSaIIOD MaIAaI
‘(Z°0) sjuawWpUaWwe snoleA jo Snje}s Bulpsesas UPJON “JAI YIM
99U8J38JUOD ‘(9°9) JUBLUPUALUe BulsUe] Seq BSIAa/ pue MAIADY

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(O'T) Sassi pue s}uawWpUae snoeA Bulpseas Wea Ajpeg
0} a@duapUOod—aO) Jo UO!esedaid pue Maina ‘aAlaI—a4 {(S°T)
SJUBWPUSWWE O} SUOISIADI Pue SjUsUpUaWe asea] JO UOI}eIedaid

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(v'0) Swes ay) Sulpuesas uejON UIA) YUM puodsaiJ09 pue JUAal|9
WO SJUBWLWOD puke S}UdLUPUaLUe SUIPUe}SINO MaiAad {(Z°T)
M@AIAAI JO} ULJON “Aj 0} PUdS PUe JUBWPUaWe PURO asinay

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(ZO) Qwes ay} Bulpsesas uejON

“AIA. YIM puodse.09 pue JUsWpUawe puejOH Maia ‘(7°0)
awies 9y} Suipsesas uejON ‘JIA [!ewWa pue JUaWpUaWwe Joquy UUY
BSIABJ PUL MAA ‘(9°Q) aJe]|dWs9} JUsWPUaWe Bulsue] yseq Yesg

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(ZT) payepdn sjualo vad syuawpuawe

pasinas jo uonesedaud ‘(Z7°T) sjuawpuawe aseay Japun

sanss! ssaulsng pasinas Jo uolesedaud /(¢°9) sjuawipuawe asea}
Japun sanssi ssauisng Suipueges wea} 0] aduapuodsa02 (Q’¢)
SJUBUPUBWe asea| SUO!TEIO] (9) XIS 0} SUOISIA|J pue sisAjeuYy

aje}sy jeay

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(€°0) sJuawpuawe

asea] JO snjeys Sulpsesas uejON “IJ PUe UdZ}J UOA “SIA

YUM BIUSIBJUOD “(E°T) SJUBLULUOD S,ULJON “4JIA) YIM BdUePIOIIe
Ul JUaWpUaWe JOquY UUY aSsiAad “(€°Q)sjUaWUIPUdWwe asea}
SSNOSIP 0} JUdI]D PUe ‘UdZ}F UOA ‘S|\J ‘URJON ‘IAI YUM adUaIajUOD

 

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pue Sully JO} Woda. Buljesado AjyjuOW premio} pue MaIAeY
Yoda, Buijesado Ajyyuow Bulyioday eed] OO'SS7S |T'O | OS'StS W yreqesi|9 ‘UaZ13 UOA}OZO0Z/9T/6
Ajnf Jo snyeys Bulpse3ai yaasD YOOY YUM adUapUOdsaOD
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sjeloueuyy aunf pasiAas Suipsesai sjlewuy suloday €€Na] OO'SS7S {v0 00'78TS W auuezoy ‘e1UNIDd|0707Z/ST/6
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JJ2EAI] pue uejON ‘Sussay) pue UAZW UOA “S| WO. s}leWa MaIAaY
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‘(8°0) SJuaWUpUdWY pasiAal JO MAIA|I pue Jdiaday
(TO) Suoisinas Jualupudwe Bulpiesas 93eysq jeay ZENG] OO'09ZS = |Z'0 00°zss W espuexaly ‘spoomM}|0Z0Z/rZ/6
U9Z}F UOA ‘S| PUe [AZUAN “sIA) WOIy BDUaPUOdSaIION MAIAaL
:(T°O) JUaWUpUawe Dgyd BulpseBas U|ON “JI YIM puodsaioD
suonelogau sjuaupuawe sulpsedal 93e3SJ |29u ZENG] OO'O”SS |E'0 00'Z9TS f Waqoy ‘UeION|0Z0Z/EZ/6

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